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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

                                     :
                                     :
   AZNIVE YEGPARIAN AND VRAM         : Civil Action No.:
   YEGPARIAN,                        :
                                     :
                  Plaintiffs,        : COMPLAINT & DEMAND FOR JURY
         v.                          : TRIAL
                                     :
   EXACTECH, INC.;                   :
   EXACTECH, U.S., INC.;             :
   TPG, INC.; OSTEON HOLDINGS, INC.; :
   OSTEON MERGER SUB, INC.; and :
   OSTEON INTERMEDIATE HOLDINGS :
   II, INC.,                         :
                                     :
                  Defendants.        :
                                     :
                                     :


         NOW COMES Plaintiffs AZNIVE YEGPARIAN and VRAM YEGPARIAN (hereafter

  collectively referred to as “Plaintiffs”), by and through the undersigned attorneys, and bring this

  action against EXACTECH, INC. (“EXACTECH”), EXACTECH U.S., INC. (“EXACTECH

  US”), TPG, INC., OSTEON HOLDINGS, INC., OSTEON MERGER SUB, INC., and OSTEON

  INTERMEDIATE HOLDINGS II, INC. (hereinafter collectively as “Defendants”), for personal

  injuries suffered as a proximate result of the implantation of the Optetrak Comprehensive Total

  Knee System (hereinafter referred to as the “Device” or “Devices”) and allege as follows:

                                       NATURE OF THE ACTION
         1.      This is an action for damages relating to Defendants’ developing, designing,

  testing, assembling, manufacturing, packaging, monitoring, labeling, preparing, distributing,

  marketing, supplying, storing, and/or selling of the Optetrak Device. The Optetrak Devices as

  referred to in this Complaint includes the Optetrak Polyethylene Tibial Insert.
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          2.     Thousands of patients, like Plaintiff AZNIVE YEGPARIAN, have been, and/or will

  be, required to undergo extensive revision surgery to remove and replace defective Devices due to a

  recent recall of these devices which first revealed to patients and surgeons that the polyethylene

  components within the prosthesis prematurely degrades over time causing an inflammatory response

  resulting in bone necrosis (death) also known as osteolysis. The recall notice admits that the recall

  and problems arose from failure to properly package the polyethylene insert component of the

  Optetrak Devices.

          3.     As a result of Defendants’ failure to properly package the Devices prior to

  distribution, the polyethylene liner prematurely degraded and Plaintiff required revision surgery due

  to severe pain, swelling, and instability in the knee and leg. These injuries were caused by early and

  preventable wear of the polyethylene insert and resulting component loosening and/or other failures

  causing serious complications including tissue damage, osteolysis, permanent bone loss and other

  injuries.

          4.     Recipients of the Device, like the Plaintiff, have been required to undergo revision

  surgeries well before the estimated life expectancy of a knee implant and at a much higher rate

  than should reasonably be expected for devices of this kind and have suffered pain and disability

  leading up to and after the revision surgery.

          5.     Despite knowledge that the Device was defective and resulted in premature failures

  and accompanying complications, Defendants only first issued a nationwide recall on February 7,

  2022, advising the public that “most of our inserts since 2004 were packaged in out-of-

  specification . . . vacuum bags that are oxygen resistant but do not contain a secondary barrier layer

  containing ethylene vinyl alcohol (EVOH) that further augments oxygen resistance.”

          6.     As a direct and proximate result of the defective nature of Defendants’ Devices




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  surgically implanted in Plaintiff which necessitated premature removal, Plaintiff AZNIVE

  YEGPARIAN suffered and will continue to suffer serious personal injuries, including pain, impaired

  mobility, rehabilitation, medical care, loss of enjoyment of life, and other medical and non-medical

  sequalae.

         7.      Plaintiffs bring this action for personal injuries suffered as a proximate result of

  failure of the Device. Plaintiffs accordingly seek compensatory and punitive damages, and all other

  available remedies provided to Plaintiffs under the law because of injuries AZNIVE YEGPARIAN

  sustained due to the Defendants’ negligent, reckless, and wrongful conduct.

         8.      Pursuant to Local Rule 201.1(d), Plaintiffs are seeking damages in excess of

  $150,000.

                                     JURISDICTION & VENUE
         9.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332, because

  the amount in controversy exceeds Seventy-Five Thousand Dollars ($75,000.00), exclusive of

  interest and costs, and because there is complete diversity of citizenship between the Plaintiffs and

  all Defendants.

         10.     The court has personal jurisdiction over Defendants because at all relevant times they

  have engaged in substantial business activities in the State of New Jersey. At all relevant times,

  Defendants transacted, solicited, and conducted business in New Jersey through their employees,

  agents, and/or sales representatives, and derived substantial revenue from such business in New

  Jersey. Furthermore, as set forth below, because TPG, its related entities, and Exactech served as

  agents, alter egos, and instrumentalities for each other, each entity’s contacts are attributable to the

  other entities for purposes of establishing personal jurisdiction.

         11.     Venue is proper in this Judicial District and Division pursuant to 28 U.S.C. § 1391

  because Plaintiffs are citizens and residents of Monmouth, New Jersey.


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                                            THE PARTIES
         12.     Plaintiffs AZNIVE YEGPARIAN AND VRAM YEGPARIAN are residents and

  citizens of Holmdel, New Jersey.

         13.     Defendant EXACTECH, INC. is a domestic, Florida corporation with its principal

  place of business located at 2320 NW 66th Court, Gainesville, Florida 32653.

         14.     Defendant EXACTECH, INC. develops, manufactures, packages, stores,

  distributes, markets, and sells orthopedic implant devices, including Optetrak Devices and related

  surgical instrumentation throughout the United States, including the State of New Jersey.

         15.     Defendant EXACTECH, INC. manufactured the Devices implanted in Plaintiff

  AZNIVE YEGPARIAN.

         15.     At all times relevant to this action, Defendant EXACTECH, INC. tested, studied,

  researched, designed, formulated, manufactured, inspected, labeled, packaged, promoted,

  advertised, marketed, distributed, and/or sold the Device in interstate commerce and throughout

  the State of New Jersey and generated substantial revenue as a result.

         16.     Defendant EXACTECH U.S., INC., a wholly owned subsidiary of Defendant

  EXACTECH, INC., is a domestic Florida corporation with its principal place of business located

  at 2320 NW 66th Court, Gainesville, Florida 32653.

         17.     According to public filings, Defendant EXACTECH U.S., INC., conducts

  Defendants’ U.S. sales and distribution activities.

         18.     EXACTECH U.S., INC. is engaged in the business of designing, developing,

  testing, assembling, selecting, manufacturing, packaging, labeling, preparing, distributing,

  marketing, supplying, warranting, selling, and introducing Defendants’ products, including

  Optetrak Devices, into commerce throughout the United States and the State of New Jersey.

         19.     Upon information and belief, the Devices manufactured by Defendant


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  EXACTECH, INC. were distributed by Defendant EXACTECH U.S., INC. throughout the United

  States, including New Jersey.

         20.     At all times relevant to this action, Defendant EXACTECH U.S., INC. tested,

  studied, researched, designed, formulated, manufactured, inspected, labeled, packaged, stored,

  promoted, advertised, marketed, distributed, and/or sold the Device in interstate commerce and

  throughout the State of New Jersey and generated substantial revenue as a result.

         21.     Defendant TPG, Inc. is a Delaware corporation that has its principal place of

  business at 301 Commerce Street, Suite 3300, Fort Worth, TX 76102. TPG, Inc. is a citizen of

  Delaware and Texas. TPG, Inc. was formerly known as both TPG Capital, LP and TPG Partners,

  LLC (hereinafter collectively referred to as “TPG”).

         22.     Upon information and belief, TPG Capital, LP converted to TPG, Inc. in or around

  December 2021.

         23.     TPG Partners, LLC converted to TPG, Inc. in or around December 2021.

         24.     TPG, Inc. is a publicly traded company on the Nasdaq Stock Exchange with a

  business model based on privatizing companies.

         25.     TPG, Inc. is an alternative asset manager that works with companies in many

  sectors, including the medical device sector.

         26.     The healthcare sector is one of TPG, Inc.'s most active sectors.

         27.     As set forth in further detail below, in February 2018, TPG, Inc.’s predecessor

  entity - TPG Capital, LP - paid over $737 million to merge with Exactech ("2018 Merger").

         28.     TPG, Inc. is not a passive investor. It touts its ability to "create products and

  services [that have] delivered breakthrough innovation" in the healthcare industry, as well as its

  "unique approach" to "building great companies."




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          29.    Defendant Osteon Holdings, Inc. is a Delaware corporation that has its principal

  place of business in Delaware, and is an indirect wholly owned subsidiary or indirect beneficially

  owned affiliate of TPG, Inc. Osteon Holdings, Inc. is a citizen of Delaware. Osteon Holdings, Inc.

  was formerly known as Osteon Holdings, LP.

          30.    Osteon Holdings, LP converted to Osteon Holdings, Inc. in or around February

  2018.

          31.    Defendant Osteon Merger Sub, Inc. is a Texas corporation that has its principal

  place of business in Florida and is a wholly owned subsidiary of Osteon Holdings, Inc. Osteon

  Merger Sub, Inc. is a citizen of Florida and Texas.

          32.    Defendant Osteon Intermediate Holdings II, Inc., is a Delaware corporation that has

  its principal place of business in Delaware and has been identified in public court filings as the

  Parent corporation of Exactech, Inc. Osteon Intermediate Holdings II, Inc. is a citizen of Delaware.

          33.    At all relevant times, Defendant Osteon Holdings, Inc. (formerly known as Osteon

  Holdings, LP), Defendant Osteon Merger Sub, Inc., and Defendant Osteon Intermediate Holdings

  II, Inc. (hereinafter collectively known as “Osteon”) have been controlled by TPG, Inc. or its

  predecessor entities.

          34.    Defendants TPG, Inc., Osteon Holdings, Inc., Osteon Merger Sub, Inc., and Osteon

  Intermediate Holdings II, Inc. are hereinafter collectively referred to as “TPG Defendants.”




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         35.     The following chart demonstrates the relationships between these entities, as

  described in further detail below:




         36.     The TPG Defendants, through and in concert with related entities TPG Partners

  VII, LP, TPG Genpar VII, LP, TPG Genpar VII Advisors, LLC (collectively TPG Fund Entities),

  exercised control over the merger with Exactech and subsequent operations of Exactech for their

  direct benefit and they used Exactech to engage in improper conduct as outlined herein and caused

  harm to Plaintiffs through such improper conduct.

         37.     The TPG Defendants used Exactech as an agent, alter ego, and mere instrumentality

  such that the TPG Defendants maintained control over Exactech. Moreover, Exactech and the TPG

  Defendants should be held jointly and severally liable.




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     LIST OF NON-PARTY INDIVIDUALS RELEVANT TO EXACTECH’S
  HISTORY, MERGER WITH TPG DEFENDANTS, AND PLAINTIFFS’ CLAIMS
         38.    The following list provides information and background regarding non-party

  individuals referenced throughout this Complaint that are important to Exactech’s history, merger

  with TPG Defendants, and Plaintiffs’ claims against Defendants.

         39.    Dr. William “Bill” Petty is an orthopedic surgeon and was an original founder of

  Exactech. Dr. Petty served as Exactech’s CEO from 1985 until 2014, after which he served as the

  Executive Chairman and Chairman of the Board of Exactech, Inc. prior to the 2018 merger.

  Following the 2018 Merger, Dr. William Petty held the same position and later became the Vice

  Chairman and a Director.

         40.    Betty Petty is the wife of Dr. William Petty and is an original founder of Exactech.

  She served in the dual capacities of Human Resources Coordinator and Director of Marketing

  Communications from the founding of Exactech until 2001. She was Vice President, Human

  Resources from February 2000 until May 2010. Ms. Petty also served as the Vice President,

  Administration and Secretary of Exactech, Inc prior to the 2018 Merger. Following the 2018

  Merger, Betty Petty served as Secretary for one year and then Vice President, Administration for

  one year.

         41.    Gary J. Miller, Ph.D. is an original founder of Exactech. Dr. Miller is a biochemical

  engineer and served as an “innovation leader” since Exactech’s inception. Dr. Miller served as

  Exactech’s Executive Vice President, Research and Development prior to the 2018 Merger.

  Following the 2018 Merger, Mr. Miller served in numerous capacities, and currently serves as the

  Executive Vice President of Research and Development Emeritus.

         42.    Mr. David W. Petty is the son of Dr. William Petty and Betty Petty. David Petty

  became Exactech’s first employee in 1988. David Petty served as Exactech’s Vice President of



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  Operations from April 1991 until April 1993, Vice President of Marketing from 1993 until 2000,

  the Executive Vice President of Sales and Marketing from February 2000 until December 2007,

  President from 2007 until 2014, and the CEO from 2014 until January 2020, leading Exactech

  through the Merger with TPG Defendants. David Petty has been quoted as stating “[t]he secret

  sauce for Exactech has been the strong patient and people focused culture. . . .”1

         43.       In January 2020, Exactech announced that Dr. William Petty and his wife, Betty

  Petty would retire from the company. David Petty was transitioned from his role as Chief

  Executive Officer to Vice Chairman of the Exactech Board of Directors.

         44.       Joel C. Phillips has worked at Exactech since at least 1996 and served as Exactech’s

  Executive Vice President, Chief Financial Officer, and Treasurer prior to 2018. Following the 2018

  Merger, Mr. Phillips served for a certain number of years as Exactech’s Chief Financial Officer

  and Treasurer.

         45.       Bruce Thompson has been at Exactech since 2004 and served as Exactech’s Senior

  Vice President, Strategic Initiatives prior to the 2018 Merger. Following the 2018 Merger, Mr.

  Thompson served from 2019 to 2022 as the Senior Vice President, Strategic Initiatives and

  currently serves as the Senior Vice President, International Sales.

         46.       Donna Edwards has been at Exactech since 2001 and served as Exactech’s Vice

  President, Legal and General Counsel prior to the 2018 Merger. Following the 2018 Merger, Ms.

  Edwards served in several roles. In 2019, she served as the Vice President, Legal and from 2020

  to 2022, Ms. Edwards served as the Senior Vice President, Legal, Officer. Currently, Ms. Edwards

  serves as General Counsel and Senior Vice President, Legal.




  1
     Press Release, Exactech, Exactech Announces Leadership Transition (Jan. 6, 2020),
  https://www.exac.com/exactech-announces-leadership-transition (last visited Jan. 9, 2023).


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         47.    Christopher Roche was the Director of Engineering for Exactech, Inc., prior to the

 2018 Merger. Currently, Mr. Roche serves as Senior Vice President of Extremities at Exactech,

 Inc.

         48.    Steven Szabo was the Vice President of Marketing for Exactech, Inc., prior to the

 2018 Merger.

         49.    Michael LaGatta was a full-time employee of TPG and many of its subsidiaries and

 affiliates from approximately 2011 until 2022. For example, Mr. LaGatta has signed agreements

 on behalf of a number of TPG’s subsidiaries and affiliates, including, but not limited to:

                a.     TPG Global, LLC - Vice President

                b.     TPG Holdings, LP - Vice President

                c.     TPG Partner Holdings, LP - Vice President

                d.     TPG Group Advisors (Cayman), Inc. - Vice President

                e.     Osteon Holdings, LP ("Parent") - Vice President

                f.     Osteon Merger Sub, Inc. - Vice President

         50.    Jeffrey R. Binder is currently the Chairman and Chief Executive Officer of

 Exactech, Inc. Since 2015, he has served as a Senior Advisor to TPG.

         51.    Daniel P. Hann has served as Exactech’s Senior Vice President, Business

 Development since 2019. Mr. Hann has also served as a Senior Advisor to TPG since at least

 2017.

         52.    Kerem Bolukbasi served as Exactech’s Chief Financial Officer and Treasurer from

 2020 through August 2022, at which time he was relieved of his duties upon the advice and consent

 of TPG Board Members. Prior to assuming his role as Chief Financial Officer and Treasurer of

 Exactech, Inc., Mr. Bolukbasi worked for TPG as a private equity operations executive, providing




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 interim executive leadership and operational support of the management teams and board of

 directors for TPG portfolio companies. Mr. Bolukbasi also served as a TPG Advisor to Exactech.

        53.     Kendall Garrison serves on the nine-member Board of Directors of Exactech, Inc.

 and is employed by TPG. He joined TPG in 2008 and currently serves as Principal of TPG.

        54.     John Schilling serves on the nine-member Board of Directors of Exactech, Inc. and

 is employed by TPG. He joined TPG in 2011 and currently serves as Partner, Head of Operations

 of TPG.

        55.     Todd Sisitsky serves on the nine-member Board of Directors of Exactech, Inc. and

 is employed by TPG. He joined TPG in 2003 and currently serves as President and Co-Managing

 Partner of TPG.

        56.     Karen Golz is a member of the Exactech Board of Directors.

        57.     Darin Johnson joined Exactech and served as the Vice President of Marketing,

 Extremities from 2002 to 2016. In this role, he led Exactech’s global teams of orthopedic surgeons,

 product managers, engineers, and sales professionals. In January 2020, Mr. Johnson became

 Exactech’s President and Chief Executive Officer. While he continues to serve as Exactech’s

 President, in March 2022, following the recalls discussed herein, Mr. Johnson was replaced as

 Chief Executive Officer by Jeffrey Binder.

                                       FACTUAL BACKGROUND
        58.     Upon information and belief, the first Optetrak total knee system was available for

 implantation in 1994, building upon technology licensed from HSS.

        59.     At all times material hereto, Defendants designed, developed, tested, assembled,

 selected, manufactured, packaged, labeled, prepared, distributed, marketed, supplied, warranted,

 and/or sold the Optetrak Comprehensive Total Knee System to hospitals in many states.




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        60.     Between 1994 and 2015, Defendants obtained 510(k) clearance from the Food and

 Drug Administration (“FDA”) for various Optetrak total knee system devices and components,

 including the OPTETRAK LOGIC® knee system and Optetrak Logic PSC Tibial Insert.

        61.     The Optetrak Total Knee System is classified as a knee joint patellofemorotibial

 polymer/metal/polymer semi-constrained cemented prosthesis. It features a mix of polyethylene

 and metal-based components.

        62.     According to Defendants, the Optetrak Device introduced “novel implants and

 instruments to make the total knee procedure easier, faster, and more consistent, improving patient

 satisfaction for a more diverse population requiring total knee replacements.

        63.     510(k) clearance is distinct from the FDA’s pre-market approval (“PMA”) process

 in that clearance does not require clinical confirmation of safety and effectiveness and as such the

 manufacturer retains all liability for the assertions of safety and effectiveness.

        64.     510(k) clearance only requires the manufacturer to notify the FDA under Section

 510(k) of the Medical Device Amendments of 1976 to the Food Device Cosmetic Act (MDA) of

 its intent to market a device at least ninety days prior to the device’s introduction on the market,

 and to explain the device’s substantial equivalence to a pre-MDA predicate device. The FDA may

 then “clear” the new device for sale in the United States.

        65.     All the component parts comprising Plaintiff’s Device were cleared for marketing

 by the FDA pursuant to 510(k) process or were marketed without receiving either 510(k) clearance

 or PMA approval by the FDA.

        66.     The Device is comprised of the following parts: a patellar cap, femoral cap, tibial

 insert and tibial tray, as shown below.




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        67.     The patellar cap and tibial insert are made of polyethylene.

        68.     Defendants touted the Optetrak Device as being first-in-class in their product

 brochures.

        69.     In their marketing materials, the Defendants promised that the Device had excellent

 long-term clinical outcomes and that “surgeons and patients can have every confidence in the

 performance and longevity of the Optetrak knee system.”

        70.     Defendants promoted their Optetrak Devices as a system with nearly three decades

 of clinical success and proven outcomes for patients around the world because of an improved

 articular design resulting in low polyethylene stresses.

        71.     However, Optetrak Devices have performed poorly when compared to their

 competitors. For example, the Australian Orthopaedic Association, a preeminent, internationally

 recognized orthopedic implant registry, has identified the Optetrak as an implant with a higher-

 than-expected rate of revision.

        72.     According to the 2020 Australian National Joint Replacement Registry, the rate of

 revision for a total knee replacement utilizing an Optetrak tibial component with a Optetrak-CR

 femoral component was 8.5% at ten years and 10.2% at ten years when implanted with a Optetrak-


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 PS femoral component, which far exceeds international guidelines for accepted revision rates.

          73.   Per the recommendations established by the International Benchmarking Working

 Group and applied by the Australian Orthopaedic Association, the Optetrak Devices do not qualify

 for a “superiority benchmark” or even a “non-inferiority benchmark.”

          74.   At all times relevant, Defendants have been aware of a high rate of early failures

 associated with the Optetrak Device.

          75.   Upon information and belief, by 2012, Defendants had further clinical evidence that

 Optetrak Devices were failing at a rate higher than promoted. Reports in the Manufacturer and User

 Facility Device Experience (MAUDE) indicate instances of revision due to “loose tibial

 component,” “aseptic loosening,” “pain and visible loosening,” “polyethylene deformation,”

 “polyethylene worn,” and “pain, limited mobility, knee swelling and sensitivity” due to “loose”

 joint.

          76.   Upon information and belief, in 2013, complaints continued to be reported. Some

 examples include revision for “tibial loosening” just two years postoperatively, “revision due to

 tibial loosening,” “during revision, the tibial component was found to be loose and easily

 removed,” “revision of knee component due to loosening,” and “revision due to pain and

 loosening.”

          77.   Upon information and belief, the complaints of early onset failures continued in

 2014. Some examples include “revision due to tibial loosening,” “tibial loosening,” “revision of

 optetrak knee components due to tibial loosening,” “revision due to pain and loosening,” “revision

 of optetrak knee components due to aseptic loosening,” several reports described as “revision of

 knee components due to tibial loosening,” and “revision of optetrak knee components reportedly

 due [to] aseptic loosening.”




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        78.     The general practice in orthopedic implant surgeries generally, and with Exactech

 implants specifically, is for the sale representative of the manufacturer, in this case Exactech’s

 authorized representative and agent, hereinafter “the sales rep,” to be present at the time of surgery

 to provide implant components to the surgeon, relieving the hospital of the responsibility for having

 on stock all potential sizes and components that may be needed in surgeries. This practice includes

 the original implant surgery and any revision surgery.

        79.     The sales reps of Exactech observed many instances of premature failures of the

 Device with plain evidence upon revision of polyethylene debris that needed to get removed, a/k/a

 “debrided,” visible bone loss or osteolysis and plainly loose components that were easy to remove

 due to lack of fixation. Often these sales reps would take the component from the surgeon to return

 to the company for inspection and analysis.

        80.     The sales reps of Exactech were under a duty to report these findings to the

 engineering and medical departments of Exactech who were under a duty to then do an

 investigation, analyze the removed component when available, also known as “retrieval analysis,”

 and honestly and thoroughly report such findings to the FDA and the surgeons.

        81.     Despite Defendants’ knowledge of early onset failures of the Optetrak Device,

 Defendants continued to manufacture, promote, and distribute the Device without alerting

 surgeons, patients, or the FDA of the potential increased risks of early onset failures of the Optetrak

 Device.

        82.     Defendants never changed the labeling, marketing materials, or product inserts to

 adequately and accurately warn patients or physicians of the associated increased risks of early

 failure due to loosening and/or polyethylene wear.

        83.     Not until August 30, 2021 did the Defendants take some action and issue a partial




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 recall of all Optetrak All-polyethylene tibial components, including the OPTETRAK All-

 polyethylene CC Tibial Components; OPTETRAK All-polyethylene CR Tibial Components;

 OPTETRAK All-polyethylene CR Tibial Sloped Components; OPTERAK All-polyethylene PS

 Tibial Components; OPTETRAK HI-FLEX PS Polyethylene Tibial Components; OPTETRAK

 Logic All-polyethylene CR Tibial Components; OPTETRAK Logic All-polyethylene CRC Tibial

 Components; OPTETRAK Logic All-polyethylene PSC Tibial Components; OPTETRAK Logic

 Modular PS Tibial Components; OPTETRAK Logic RBK PS Tibial Components; TRULIANT

 CR Tibial Inserts; TRULIANT CRC Tibial Inserts; TRULIANT PS Tibial Inserts; and

 TRULIANT PSC Tibial Inserts.

        84.        In issuing the August 2021 partial recall, Defendants stated that inserts were

 packaged in vacuum bags that lacked an additional oxygen barrier layer. See Class 2 Device Recall

 OPTETRAK            Comprehensive       Knee      System,      FDA      (Oct.      4,     2021),

 https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfRes/res.cfm?ID=189266 (last visited

 Jan. 21, 2023).

        85.        According to the FDA website, “Exactech began notification to distributors and

 sales representatives on about 08/30/2021 via letter titled "URGENT MEDICAL DEVICE

 RECALL." Actions being taken by Exactech included removing all Knee and Ankle UHMWPE

 products labeled with an 8-year shelf life and not packaged in EVOH/Nylon bags. This will be

 performed in a phased approach over the next 12 months. Phase 1 includes immediately return all

 knee and ankle UHMWPE devices labeled with an 8-year shelf life that will be 5 years old or older

 by 08/31/2022 not packaged in EVOH/Nylon bags. Phase 2 includes, between 05/31/2022 to

 08/31/2022, returning all remaining knee and ankle UHMWPE devices labeled with an 8-year

 shelf life not packaged in EVOH/Nylon bags.” Id.




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        86.     Despite initial communications with distributors and sales representatives,

 Defendants did not issue any communications to surgeons who had implanted Device with a

 recalled polyethylene component or to patients who had received an Device with a recalled

 polyethylene component until months later in February 2022.

        87.     On February 7, 2022, Defendants issued an “Urgent Medical Device Correction”

 in which it informed health care professionals that:

        After extensive testing, we have confirmed that most of our inserts manufactured
        since 2004 were packaged in out-of-specification (referred to hereafter as “non-
        conforming”) vacuum bags that are oxygen resistant but do not contain a secondary
        barrier layer containing ethylene vinyl alcohol (EVOH) that further augments
        oxygen resistance. The use of these non-conforming bags may enable increased
        oxygen diffusion to the UHMWPE (ultra-high molecular weight polyethylene)
        insert, resulting in increased oxidation of the material relative to inserts
        packaged with the specified additional oxygen barrier layer. Over time,
        oxidation can severely degrade the mechanical properties of conventional
        UHMWPE, which, in conjunction with other surgical factors, can lead to both
        accelerated wear debris production and bone loss, and/or component fatigue
        cracking/fracture, all leading to corrective revision surgery.

  See Letter from Darin Johnson, President & CEO, Exactech and Sharat Kusuma, Senior
  Vice President & Chief Medical Officer, Exactech, to Exactech Surgeons, Urgent Medical
  Device Correction (Feb. 7, 2022) [hereinafter Exactech Recall Letter], attached hereto as
  Exhibit A.

        88.     The “Urgent Medical Device Correction” went on to further state that Defendants

 were expanding the recall to include all knee arthroplasty polyethylene inserts packed in non-

 conforming bags regardless of label or shelf life. The components subject to the recall now

 included: OPTETRAK®: All-polyethylene CR Tibial Components, All-polyethylene PS Tibial

 Components, CR Tibial Inserts, CR Slope Tibial Inserts, PS Tibial Inserts, HI-FLEX® PS Tibial

 Inserts; OPTETRACK Logic®: CR Tibial Inserts, CR Slope Tibial Inserts, CRC Tibial Inserts, PS

 Tibial Inserts, PSC Tibial Inserts, CC Tibial Inserts; and TRULIANT®: CR Tibial Inserts, CR

 Slope Tibial Inserts, CRC Tibial Inserts, PS Tibial Inserts, PSC Tibial Inserts. Id.




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        89.     It is estimated that a total of 147,732 inserts implanted in the United States since

 2004 were produced with non-conforming packaging. Id.

        90.     Defendants further acknowledged the original Optetrak knee system has shown

 statistically significant higher overall revision rates compared to other total knee arthroplasties in

 the Australian, United Kingdom, and New Zealand joint registries. Id.

        91.     Specifically, reasons for revision associated with polyethylene wear, including

 loosening, lysis, and pain, were increased three- to seven-fold with the Optetrak total knee

 replacement combination of the Optetrak-PS/Optetrak, according to the 2021 Australian National

 Joint Replacement Registry with revision diagnoses related to accelerated polyethylene wear

 possibly related to the non-conforming packaging. Id.

        92.     Implanting surgeons were advised in the February 2022 notice to contact patients

 previously implanted with recalled components and to schedule an evaluation if the patient is

 experiencing any new or worsening knee swelling, pain while walking, inability to bear weight,

 grinding or other noise, instability, or any new symptoms of clicking in the knee. Id.

        93.     Furthermore, Defendants advised surgeons that revision surgery should be

 considered for patients who exhibit premature polyethylene wear. Id.

        94.     Based on Defendants’ own representations, since 2004, Defendants manufactured,

 promoted, and distributed the Device without ensuring the polyethylene components were properly

 packaged to prevent or minimize oxidation. At no point until August 2021 did Defendants first

 modify the packaging in an effort to address this defect.

        95.     In approximately 2017–2018, Exactech, Inc. was in the process of being acquired

 by the Private Equity Group TPG Capital, which in February 2018 successfully completed a

 merger agreement. As a result, TPG acquired all of the issued and outstanding common stock of




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 Exactech. In connection with the transaction, Exactech’s founders, CEO, and certain other

 management shareholders exchanged a portion of their shares in the transaction, for new equity

 securities in the post-closing ownership of the Company. See Exactech Announces Completion of

 Merger with TPG Capital,          EXACTECH     (Feb. 14, 2018), https://www.exac.com/exactech-

 announces-completion-of-merger-with-tpg-capital (last visited Jan. 21, 2023).

         96.    Disclosure of knowledge of the improper packaging and excessive premature

 failure rates could have harmed this transaction.

         97.    Exactech sold and distributed these defective Devices without adhering to the

 established industry standards for: the processing of UHMWPE, thermal treatment of irradiated

 UHMWPE, packaging of irradiated UHMWPE, and proper testing of the Devices for oxidation,

 accelerated wear, degradation, pitting, and delamination. Additionally, Exactech failed to properly

 design, manufacture, test, surveil clinical history, and report to regulatory authorities and clinicians

 failures of its defective femoral components of its Optetrak and Truliant knee systems. See E.B.

 GAUSDEN, ET. AL., Mid-term Survivorship of Primary Total Knee Arthroplasty with a Specific

 Implant, BONE JOINT J., 105-B(3): 277-283, Mar. 2023. Femoral components that improperly

 loosen and do not adhere create micromotion and increase risk of higher volumetric polyethylene

 wear.

         98.    In a March 2023 article in THE BONE & JOINT JOURNAL, a report of a study

 conducted at the Hospital for Special Surgery provided that surgeons at that facility saw “an

 increase in revision of Optetrak TKAs for aseptic loosening, early and severe polyethylene wear,

 osteolysis, as well as component loosening related to cement debonding.” Id.

         99.    Because of Exactech’s tortious acts and omission, including but not limited to its

 negligence in design and manufacture, including packaging, of its Knee Device inserts, patients




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 implanted with the Exactech Knee Devices have had to undergo (or likely will have to undergo)

 significant revision surgeries to remove and replace the defective devices.

         100.    At all times relevant to this action, Defendants were aware of the Devices’ propensity

 to undergo substantial early polyethylene wear consisting of the degradation and breakdown of the

 plastic chemicals causing toxicity to the tissue and bone and component loosening and/or other

 failure causing serious complications including tissue damage, osteolysis, and other injuries as well

 as the need for revision surgery and its attendant complications in patients.

         101.    At all times relevant to this action, Defendants failed to acknowledge the

 manufacturing defects in the Device due to poor and inadequate quality assurance procedures and

 due to a wanton and reckless disregard for public safety. Defendants also failed to implement or

 utilize adequate safeguards, tests, inspections, validation, monitoring and quality assessments to

 ensure the safety of the Device.

         102.    At the time the Device was manufactured and sold to patients, including Plaintiff,

 the device was defectively manufactured, packaged and unreasonably dangerous, and did not

 conform to the federal regulations subjecting patients to unreasonable risks of injury.

         103.    At all times relevant to this action, Defendants’ inadequate manufacturing

 processes also led to material flaws in the quality systems at its manufacturing, packaging, storage

 and distribution facilities.

         104.    During manufacture and distribution of the Device, Defendants failed in several

 ways, including, without limitation, by:

                 a.      failing to conduct adequate mechanical testing, including oxygen-resistance

                         or other wear testing for the components, subassemblies, and/or finished

                         Device;

                 b.      failing to test an adequate number of sample devices on an ongoing basis;


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               c.     failing to take adequate steps to specifically identify failure modes with

                      clarity and to suggest methods to monitor, avoid, and/or prevent further

                      failures;

               d.     failing to identify and/or note the significance of any testing that resulted in

                      failure of the Device;

               e.     failing to take corrective actions to eliminate or minimize further failures of

                      the Device;

               f.     failing to adequately explain packaging specifications for the components,
                      subassemblies, and/or finished Device;

               g.     failing to perform adequate quality control before the components,

                      subassemblies, and/or finished Device were distributed;

               h.     failing to properly address reports from their sales representatives who

                      reported their observations while attending revision surgeries where

                      evidence of polyethylene debris and osteolysis was apparent and noted by

                      the surgeons and the sales representatives themselves;

               i.     failing to timely implement corrective action and investigations to

                      understand the root cause of these failures while continuing to sell the

                      components knowing they would be implanted into the bodies of thousands

                      of people; and

               j.     Becoming aware of the potential cause or causes but unreasonably avoiding

                      informing patients and surgeons and delaying the ability to minimize

                      damages as the devices continued to degrade and do damage in the patients’

                      bodies.
        105.   On or before the date of Plaintiff’s initial knee replacement surgery, Defendants

 knew or should have known the Device was failing and causing serious complications after

 implantation in patients. Such complications included, but were not limited to, catastrophic




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 polyethylene wear including the deposition of plastic particulate wear debris throughout the knee,

 a high rate of component loosening, and overall early system failure resulting in tissue destruction,

 osteolysis, and other injuries causing severe pain, swelling, instability and dysfunction in the knee

 and leg necessitating revision surgery.

        106.    Defendants as manufacturers of orthopedic devices know that each surgery,

 especially a revision surgery, is always more complicated than an initial knee replacement surgery

 and is fraught with serious risks of infection, anesthesia errors, dislocations and other serious

 complications that should be avoided.

        107.    Defendants, however, ignored reports of early failures of their Device and failed to

 promptly investigate the cause of such failures or issue any communications or warnings to

 orthopedic surgeons and other healthcare providers.

        108.    Before the date of Plaintiff’s initial knee replacement surgery, Defendants knew or

 should have known that the Device was defective and unreasonably dangerous to patients, that the

 product had an unacceptable failure and complication rate, and that the product had a greater

 propensity to undergo substantial early polyethylene wear, component loosening, and/or other

 failure causing serious complications including tissue damage, osteolysis, and other injuries as

 well as the need for revision surgery in patients.




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        TPG DEFENDANTS’ ACQUISITION AND CONTROL OF EXACTECH

                            TPG’s Control over the Acquisition of Exactech

         109.   On October 22, 2017, Exactech, Inc. submitted a Form 8-K Report to the SEC,

 reporting that it had entered into an Agreement and Plan for Merger ("Merger Agreement") with

 Osteon Holdings, LP ("Parent") (now Defendant Osteon Holdings, Inc.) and Defendant Osteon

 Merger Sub, Inc., a corporation and wholly owned subsidiary of Parent.

         110.   The October 22, 2017 Report describes the parties to the merger and financing of

 Defendant Exactech, Inc.

         111.   The Merger Agreement stated that Defendants Exactech, Inc. and Osteon Merger

 Sub, Inc. will be merged, and Exactech, Inc. will be the surviving entity and a wholly-owned

 subsidiary of Defendant Osteon Holdings, Inc.

         112.   Exhibit 10.1 to the October 22, 2017 8-K Report is a letter from Michael LaGatta,

 setting forth the commitments of TPG Partners VII, LP, to purchase certain equity interests of

 Parent ("Letter Agreement").

         113.   The Letter Agreement was signed by Michael LaGatta on behalf of TPG Partners

 VII, LP and also "Agreed to and Accepted" on behalf of Parent by Michael LaGatta.

         114.   As noted above, Mr. LaGatta was a full-time employee of TPG, who was an active

 member of numerous subsidiaries and affiliates of TPG, having e.g., signed documents in his

 capacity as Vice President for TPG Global, LLC, TPG Holdings, LP, TPG Partner Holdings, LP,

 TPG Group Advisors (Cayman), Inc., Osteon Holdings, LP (“Parent”), and Osteon Merger Sub,

 Inc.

         115.   TPG Capital, LP (now Defendant TPG, Inc.) negotiated the terms of the merger of

 Exactech, as it controlled Osteon Holdings, LP (now Defendant Osteon Holdings Inc.) and

 Defendant Osteon Merger Sub, Inc.


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        116.    TPG Capital LP (now Defendant TPG, Inc.) also organized and directed the

 financing of the merger of Exactech through TPG Partners VII, LP, which served as the financing

 entity for the merger and is controlled by TPG, Inc.

                                TPG’S Control over Its Affiliates

        117.    Osteon Holdings, LP (the predecessor entity of Defendant Osteon Holdings Inc.)

 and Defendant Osteon Merger Sub, Inc. are referred to as “Affiliates” of TPG Capital, LP (now

 Defendant TPG, Inc.) in SEC filings related to the Merger.

        118.    Specifically, Exactech, Inc. reported to the SEC that “Parent [Osteon Holdings LP,

 the predecessor entity of Defendant Osteon Holdings Inc.] and Merger Sub [Defendant, Osteon

 Merger Sub, Inc] are affiliates of global private equity firm TPG Capital LP.” Exactech, Inc.,

 Current Report (Form 8-K) (Oct. 22, 2017).

        119.    Similarly, on December 4, 2017, Exactech reported to the SEC that:

        Exactech, Inc., . . . announced today that it has entered into an amendment to its
        merger agreement with TPG Capital and certain of its affiliates which was
        previously announced on October 23, 2017. Pursuant to the amended merger
        agreement, the Company’s common stock outstanding immediately prior to the
        effective time of the merger . . . will be converted into the right to receive $49.25
        per share in cash. This represents an increase of approximately 17.3% over the
        $42.00 per share merger consideration previously agreed to by Exactech and TPG
        Capital. TPG Capital has also increased its equity financing commitment to $737
        million for purposes of consummating the merger.

        Exactech’s Board has approved the amended merger agreement with TPG and has
        determined that it is advisable, fair to and in the best interest of Exactech and its
        shareholders. Exactech’s Board hereby recommends to Exactech’s shareholders
        that they vote to approve the merger agreement and the merger with TPG.

        TPG has arranged fully committed equity financing for the transaction and there is
        no financing condition to consummation of the merger with the Company. Early
        termination of the statutory waiting period under the Hart-Scott-Rodino Act was
        obtained on November 17, 2017 and, accordingly, there are no anti-competitive or
        other regulatory approvals needed to consummate the merger with TPG Capital’s
        affiliate.




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           120.   In a Form 8-K, dated February 13, 2018, filed with the SEC, Exactech, Inc.

 reported:

           On February 14, 2018 (the “Closing Date”), pursuant to the terms of that certain
           Agreement and Plan of merger, dated as of October 22, 2107 (the “Original Merger
           Agreement”), as amended by Amendment No. 1 thereto (“Amendment No. 1 to
           Merger Agreement”), dated as of December 3, 2017 (as to amended, the “Merger
           Agreement”) . . . the Company [Exactech, Inc.] became indirectly beneficially
           wholly owned by affiliates of TPG Capital (the “TPG Investors”) and certain
           management shareholders of the Company.

           121.   The Securities Act of 1933 defines an Affiliate as an entity that “directly, or

 indirectly through one or more intermediaries, controls or is controlled by, or is under common

 control with, the person [entity] specified.” 17 C.F.R. § 230.405 Definitions of terms (emphasis

 added).

           122.   Osteon Holdings, LP (predecessor entity of Defendant Osteon Holdings, Inc.) and

 Defendant Osteon Merger Sub, Inc. were the corporate vehicles used by TPG Capital LP (now

 Defendant TPG, Inc.) to consummate the merger with Exactech, Inc.

           123.   Both of these entities were affiliates of TPG Capital, LP (now Defendant TPG, Inc.)

 and, therefore, controlled by TPG Capital, LP (now Defendant TPG, Inc.) under the definition of

 “Affiliate” as set forth in the Securities Act of 1933.

           124.   Since Defendant Osteon Merger Sub, Inc. was “merged with and into Exactech,

 Inc.,” Exactech, Inc. is considered an affiliate controlled by TPG Capital, LP (now Defendant TPG,

 Inc.), pursuant to the merger transaction. TPG Capital, LP (now Defendant TPG, Inc.) accordingly

 is liable for the improper actions of Exactech that occurred prior to the Merger and also actions

 that Osteon was aware of and directed subsequent to the Merger.

                       Conversion of Osteon Holdings, LP to Osteon Holdings, Inc.
           125.   In connection with the Exactech Merger, on or about October 22, 2017, a Rollover

 and Voting Agreement was executed, naming William Petty, Betty Petty, David W. Petty, and


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 Prima Investments Limited Partnership (f/k/a Petty Family Investments, LP) as Shareholders in

 Osteon Holdings, LP. Osteon Holdings, LP was the "Parent" to the Merger.

        126.     On or about December 3, 2017, an amendment to this Rollover and Voting

 Agreement, was executed.

        127.     As part of the December 3, 2017 amendment ("Amendment 1"), Miller Family

 Holdings, LLC2, Bruce Thompson, Joel Phillips, Donna Edwards, Chris Roche, and Steve Szabo

 became shareholders in Osteon Holdings, LP.

        128.     According to Schedule A-1 of Exhibit A of the Rollover and Voting Agreement,

 only those listed on the Agreement, i.e., Exactech pre-merger executives and officers, received

 subject shares in Osteon Holdings, LP, in exchange for some of their Exactech shares in the

 Exactech Merger. For example, Dr. William Petty held 102,400 rollover shares in the Exactech

 Merger, which were exchanged for 5,821,546 shares of Class B common stock of Osteon

 Holdings, LP.

        129.     Osteon Holdings, LP was a limited partnership. Under basic tenets of corporate law,

 Limited Partnerships do not have stock or stockholders. A Limited Partnership has a general

 partner, who takes unlimited liability for a company's obligations, and one or more limited partners

 – whose liabilities are limited to the size of their investments.

        130.     On or about February 14, 2018, an amendment to the closing Transaction Statement

 (the “Final Amendment”) was executed in connection with the Exactech Merger.

        131.     Prior to the execution of the Final Amendment, all original merger agreements and

 amendments referred to the Parent as Osteon Holdings, LP.




 2
  Miller Family Holdings, LLC is a Florida limited liability company wholly owned by Dr. Gary
 Miller, his wife, and his children).


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        132.    In the Final Amendment, the Parent is no longer referred to as Osteon Holdings,

 LP. Instead, the Final Amendment refers to the Parent as Osteon Holdings Inc.

        133.    There is no disclosure explaining why the original Parent company, Osteon

 Holdings, LP was converted to Osteon Holdings, Inc.


           TPG Capital, LP’s (now Defendant TPG, Inc.) Control over Rollover & Voting
                              Agreement Negotiations with Exactech

        134.    During the merger negotiations between April 2017 and December 2017, including

 various amendments to original agreements, Exactech’s Executive Chairman Dr. William Petty

 and founding shareholders (“the Rollover Investors”) “had been approached by and had held

 discussions with TPG . . . to inquire whether such shareholders would be willing to exchange, in

 connection with the merger, a portion of their shares of Common Stock for a new class of equity

 securities in [Osteon Holdings LP],” an affiliate of TPG Capital, LP (now Defendant TPG, Inc.).

 See Exactech, Inc., Proxy Statement (Form DEF 14A), at 34 (Jan. 16, 2018).

        135.    “As a condition to receiving new equity securities in [Osteon Holdings, LP], the

 Rollover Investors have agreed to vote all of their shares of Common Stock [in Exactech] “FOR”

 the proposal to approve the Merger Agreement and the merger [with TPG Capital, LP (now

 Defendant TPG, Inc.)].” Id. at 96.

        136.    “TPG and [its outside Counsel] Ropes & Gray, exchanged seven drafts of the

 Original Merger Agreement, as well as multiple issues lists, and held multiple telephonic

 conferences to discuss and negotiate the terms and conditions of the Original Merger Agreement.

 . .” and reviewed several drafts of the Original Rollover & Voting Agreement (“Rollover

 Agreement”). Id. at 29-30.




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         137.    As a result of these discussions, Osteon Holdings, LP and the pre-merger Exactech

 Chairman, founding shareholders and other officers, executed the Rollover Agreement on October

 22, 2017, as amended on December 3, 2017.

         138.    The Amended Rollover Agreement added an “automatic conversion” paragraph

 that allowed Exactech’s Chairman, founding shareholders, and other officers to automatically

 convert their individually owned shares in Osteon Holdings, LP “immediately prior to an initial

 public offering” to shares in an anticipated Initial Public Offering (“IPO”) involving TPG Capital,

 LP, its partners, and affiliates.

         139.    TPG, Inc. completed its IPO on January 13, 2022.

         140.    Osteon Holdings, LP, a TPG controlled affiliate and party to the Rollover

 Agreement, had no authority to commit future TPG, Inc. IPO shares through an automatic

 conversion to Osteon Holdings, LP shareholders. As stated before, Osteon Holdings, LP was

 converted to Osteon Holdings, Inc.

         141.    TPG Capital, LP (now Defendant TPG, Inc.), through its common officers with its

 affiliates, had the authority to implement the automatic conversion of future shares under the

 anticipated IPO plan, since TPG, Inc. did not exist at the time the Rollover Agreement was

 executed.

         142.    TPG Capital, LP (now Defendant TPG, Inc.) officers are also officers of Osteon

 Holdings, LP (now Osteon Holdings, Inc.). In effect, TPG and its affiliates operate as a single

 enterprise under the global brand name, “TPG.” Furthermore, as demonstrated by the Rollover

 Agreement and the Exactech January 16, 2018 Proxy Statement, TPG Capital, LP (now Defendant

 TPG, Inc.) controlled Osteon Holdings, LP (now Osteon Holdings, Inc.) and the negotiations

 related to the Exactech merger through its common officers, general counsel, and outside counsel.




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                            TPG’s Control over the Management Agreement

        143.    Per the 2017 Amendment to the Rollover and Voting Agreement, Exactech would

 operate using TPG’s “customary management agreement.” This management agreement did not

 require unanimous consent from the Exactech board. This is notable, because as set forth below,

 TPG placed many of its own employees on Exactech’s Board and in key positions throughout the

 company.

        144.    TPG requiring Exactech to use TPG’s management agreement demonstrates that

 TPG has control over the management of Exactech.

        145.    The 2017 Amendment to the Rollover and Voting Agreement also said that

 employment agreements with TPG or its affiliates did not require unanimous consent from the

 Exactech board.

        146.    TPG requiring control of employment agreements that involve any affiliates

 demonstrates that it has direct control over employees at Exactech.

                                           Co-Mingling Liability

        147.    The Merger Agreement demonstrates that the parent company, Osteon Holdings,

 Inc., assumed certain liabilities of Exactech.

        148.    The Merger Agreement provides that Defendants Exactech and Osteon Holdings,

 Inc. will jointly participate in the defense or settlement of any security holder litigation against

 Exactech or its directors related to the merger.

        149.    The Merger Agreement provides that Exactech cannot enter into any settlement

 agreement regarding any securityholder litigation against it or its directors relating to particular

 transactions without Defendant Osteon Holdings, Inc.’s prior written consent.




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        150.    Defendants Osteon Holdings, Inc., Osteon Merger Sub, Inc., and non Defendant

 TPG Partners VII, LP are named as affiliates and grouped together as “the TPG Parties” in the

 Final Amendment of the SEC Rule 13E-3 Transaction Statement that they jointly filed with

 Exactech on February 14, 2018.

        151.    On the SEC’s Notice of Exempt Offering of Securities, six directors and seven

 officers of TPG are listed as “related persons” in connection with Osteon Holdings, LP.

        152.    “The TPG Parties,” as described in the Final Amendment of the SEC Rule 13E-3

 Transaction Statement, should be grouped together for purposes of liability under the Merger

 Agreement.

        153.    The language of the Merger Agreement and SEC filings demonstrates that “the

 TPG parties” and Exactech co-mingle liabilities, share economic resources, and conduct and

 manage operations through their common officers and directors.

                                 TPG’s Post-Merger Control of Exactech

        154.    TPG is not a passive investor in Exactech.

        155.    TPG has undertaken active management of Exactech as part of its ownership of the

 company.

        156.    TPG promotes its “distinctive,” “alternative,” and “unique” approach to growing

 the companies that it invests in.

        157.    Part of TPG’s promoted approach is being “involved in building really special

 companies.”

        158.    “Building really special companies” requires more than providing money.

        159.    Another part of TPG’s promoted “unique approach” is bringing a “family office”

 and “entrepreneurial” perspective to the companies that it partners with.




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        160.   TPG promotes its ability to “create products and services [that have] delivered

 breakthrough innovation” in the healthcare industry.

        161.   In the healthcare industry specifically, TPG emphasizes its “differential insights.”

        162.   TPG played an active role in selecting the people who would run the day-to-day

 operations of Exactech after the merger.

        163.   In meetings during June and July of 2017, TPG told Exactech that it was important

 for Jeffrey R. Binder (a TPG advisor) to have a central role in any potential transaction between

 Exactech and TPG.

        164.   Jeffrey R. Binder and Daniel Hann both advised TPG Capital on its merger with

 Exactech.

        165.   Jeffrey R. Binder became CEO of Exactech in March 2022 after joining Dr.

 William Petty as co-executive Chairman of Exactech in 2018.

        166.   Daniel Hann became Senior Vice President of Business Development of Exactech.

        167.   After an Exactech Board of Directors meeting in September 2017, the company's

 lead independent director, Mr. James G. Binch, contacted another director, Mr. Todd Sisitsky

 (TPG President and Co-Managing Partner), to tell him that TPG was now permitted to speak with

 Exactech's founding shareholders and management team regarding equity participation,

 employment, and other arrangements for after the merger.

        168.   Eleven pre-merger officers or directors of TPG became officers or directors of

 Exactech post-merger.

        169.   TPG advisors have continued to exert direct control over Exactech since the merger.




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         170.    Defendant Osteon Intermediate Holdings II, Inc. is the certificate holder on a

 Certificate of Insurance associated with Exactech, Inc. Coverage held by Osteon Intermediate

 Holdings II, Inc. includes, but is not limited to, products liability.

         171.    TPG advisors have served in at least six leadership positions for Exactech: three

 officer positions-filled by Jeffrey R. Binder, Daniel P. Hann, and Kerem Bolukbasi-and three

 director positions-filled by Kendall Garrison, John Schilling, and Todd Sisitsky.

         172.    One-third of the nine-member Exactech Board of Directors is composed of TPG

 employees.

         173.    As further evidence of TPG’s control over Exactech, orthopedic surgeons may be

 incentivized to utilize Exactech products in exchange for shares of Osteon Holdings, LP. For

 example, in a 2021 American Association of Hip and Knee Surgeon disclosure report, a

 Massachusetts-based orthopedic surgeon who is an Exactech “paid consultant” with “IP royalties”

 disclosed that he has “stock or stock options” in “Osteon Holdings.”

          TPG’s Direct Involvement in Decision Making Related to the Recall of Exactech’s,
                                           Knee Devices

         174.    Upon information and belief, TPG advisors and Officers directed the Exactech

 Knee Device recalls caused by accelerated polyethylene wear.

         175.    TPG Officers and Directors are also Officers and Directors of Osteon and Exactech.

 Therefore, TPG was directly involved in decision making related to the recalls.

         176.    Upon information and belief, in 2017 or 2018, during due diligence prior to the

 acquisition of Exactech or shortly after the acquisition of Exactech, TPG knew or should have

 known of the clinical evidence of early onset failures of Exactech Devices and Exactech’s non-

 compliance with federal regulations and current good manufacturing practices.




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        177.    Public records reveal that Exactech had a history of device failures that may have

 required a voluntarily recall before the merger and after the merger.

        178.    Upon information and belief, in order to increase the value of TPG’s ownership of

 Exactech, TPG chose to continue selling Exactech Knee Devices despite research and clinical

 evidence demonstrating significant product defects that were harming patients with those devices

 implanted in their bodies.

        179.    TPG's involvement in Exactech presentations after the merger demonstrates that

 TPG was aware of the clinical evidence of early onset failures of the Exactech Devices and

 participated in the corrective action plan.

        180.    The first recall of Optetrak devices was not issued until August 30, 2021, over three

 years after the 2018 Merger.

        181.    In November 2021, Exactech CFO and Treasurer Kerem Bolukbasi ("Bolukbasi')

 gave a “cash flow profile” presentation to the Exactech Board of Directors, including TPG board

 members and advisors, regarding the August 2021 Exactech recall which “created significant

 financial difficulty for Exactech . . . reflecting an estimated $60 million cash burn during 2022.”3

        182.    Following this presentation and disclosure, Bolukbasi was terminated by TPG and

 Exactech.

        183.    To effectuate Bolukbasi’s termination, Darrin Johnson conferred with TPG

 employee, and Exactech board member, John Schilling.

        184.    Also in November 2021, Karen Golz, a member of the Exactech Board of Directors,

 was appointed to the Board of Directors of another company, iRobot. The iRobot press release




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  A cash burn means that the company would be forced to spend large sums of money in connection
 with the August 2021 recall.


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 announcing Ms. Golz's appointment stated that Ms. Golz also serves on the Board of Directors of

 "Osteon Holdings/Exactech, a private company controlled by TPG."

        185.     At all stages, TPG has been directly involved in and controlled the decision making

 regarding when and how to recall Exactech’s defective Knee Devices and alert the patients and

 surgeons to Exactech’s years’ long failure to manufacture safe devices and comply with good

 manufacturing practices.


               AZNIVE YEGPARIAN’S IMPLANTS AND REVISION SURGERIES
        186.     On April 27, 2012, Plaintiff AZNIVE YEGPARIAN underwent left total knee

 replacement surgery at the Hospital for Special Surgery in New York, New York where she was

 implanted with a recalled Optetrak Polyethylene Tibial Insert (Serial #: 2137431).

        187.     On June 2, 2017, Plaintiff AZNIVE YEGPARIAN underwent surgery on her right

 knee at the Hospital for Special Surgery in New York, New York and was implanted with a recalled

 Optetrak Polyethylene Tibial Insert (Serial #: 351108).

        188.     On June 8, 2022, Plaintiff AZNIVE YEGPARIAN underwent right knee revision

 surgery due to accelerated and preventable wear of the Optetrak Polyehtylene Tibial Insert.

        189.     Plaintiff AZNIVE YEGPARIAN experiences pain in left right knee and will likely

 require a left knee revision surgery to remove the Truliant Polyethylene Tibial Insert at a later date.

        190.     Defendants, through their affirmative misrepresentations and omissions, actively

 and fraudulently concealed from Plaintiff and Plaintiff’s health care providers the true and

 significant risks associated with the Device and the need to vigilantly do diagnostic procedures to

 promptly diagnose the insidious process of the toxic polyethylene particles degrading and causing

 osteolysis.

        191.     Defendants know that after the one-year checkup following a total knee



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 arthroplasty, typically patients are not expected to return for monitoring absent problems. Thus,

 Defendants knew that—unless they informed surgeons to call their patients back for periodic

 radiologic monitoring—polyethylene chemical degradation and attendant osteolysis could be

 occurring unchecked until it reached the stage of severe bone loss.

        192.    As a direct, proximate, and legal consequence of the defective nature of the Device as

 described herein, Plaintiff AZNIVE YEGPARIAN has suffered and continues to suffer permanent

 and debilitating injures and damages, including but not limited to, significant pain and discomfort;

 gait impairment; poor balance; difficulty walking; component part loosening; soft tissue damage;

 bone loss; and other injuries presently undiagnosed, which all require ongoing medical care.

        193.    As a further direct, proximate, and legal consequence of the defective nature of the

 Device, Plaintiff has sustained and will sustain future damages, including but not limited to cost of

 medical care; rehabilitation; home health care; loss of earning capacity; mental and emotional

 distress; and pain and suffering.

                          TOLLING OF STATUTE OF LIMITATIONS
 A. Latent Injury
        194.    To the extent it is claimed that Plaintiff suffered symptoms prior to undergoing

 revision surgery, the statute of limitations is tolled because development of osteolysis, bone loss,

 and device loosening are latent conditions caused by years of exposure to toxic polyethylene wear

 debris that could not be appreciated until the date Exactech disseminated the information justifying

 its recall of the Exactech Knee Devices.

        195.    As a plastic, polyethylene wear debris contains chemicals or additives and may

 contain impurities such as catalyst residues, unreacted monomers, or breakdown products which

 possess toxic properties that can adversely affect human health. See Matthias C. Rillig et al., The

 Global Plastic Toxicity Debt, 55 ENV’T. SCI. & TECH. 2717, 2717–19 (2021).



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        196.    As described above, such toxic effects on the human body include, but are not

 limited to, osteolysis, tissue necrosis, and destruction of the bony integration between the

 component parts of the prosthetic and the patient’s anatomy.


        197.    Prior to Exactech initiating its recall and disseminating information about the

 recalls to Plaintiff, technical, scientific, or medical knowledge and information sufficient to

 ascertain the cause of the failure of the Exactech Knee Devices had not been known.

        198.    Thus, Plaintiff exhibited due diligence and did not possess “technical, scientific, or

 medical knowledge” and information sufficient to ascertain the cause of her injuries until after

 Exactech recalled their Exactech Knee Devices.

 B. Fraudulent Concealment
        199. Exactech, through its affirmative misrepresentations and omissions, actively

 concealed from Plaintiff and Plaintiff’s healthcare providers the defects in and true and significant

 risks associated with Exactech’s Knee Devices, claiming any failures were due to surgical

 technique, positioning, or patient characteristics.

        200.    Following implantation of the Device, Plaintiff and Plaintiff’s healthcare providers

 relied on Exactech’s continued representations that the Device, including their polyethylene

 components, had excellent long-term clinical outcomes.

        201.    Exactech made these representations with knowledge of their falsity, an intent to

 defraud, and/or disregard for the truth given its knowledge of reports of high failure rates.

        202.    Furthermore, following implantation of the Device, Plaintiff and Plaintiff’s

 healthcare providers relied on Exactech to provide them with urgent safety information regarding

 Exactech’s Knee Devices, including recalls, communications regarding defects and increased rates

 of failure, and warnings and instructions on how to assess, diagnose, and mitigate risks associated




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 with the defects in these Devices.

        203.    Although clinical evidence demonstrated that the polyethylene used in Exactech

 Knee Devices were failing at a rate higher than promoted, with instances of excessive revision

 rates due to device loosening and polyethylene wear, Exactech failed to initiate recalls earlier or

 issue any communications to healthcare providers that Exactech Knee Devices were defective and

 patients should be monitored.

        204.    Until recently, Exactech lacked highly-crosslinked polyethylene for its Knee

 Devices. Accordingly, without a viable substitute, earlier disclosure of these failure rates could

 have negatively impacted Exactech’s ongoing business and sale to TPG in 2017/2018.

        205.    As a result of Exactech’s actions, omissions, and misrepresentations, Plaintiff and

 Plaintiff’s healthcare providers were unaware, and could not have reasonably known, learned, or

 discovered that any Plaintiff’s symptoms or radiological findings indicative of a potential problem

 with Plaintiff’s joints were the result of defects in Exactech’s Knee Device.

        206.    Furthermore, had Exactech not actively concealed evidence of growing reports of

 accelerated polyethylene wear and Device failures, Plaintiff’s surgeon would have not implanted

 the Devices, and for those patients already implanted with Exactech Devices, their surgeons would

 have initiated monitoring for device failures at an earlier time.

        207.    Such intervention would have led to an earlier diagnosis of loosening and bone loss,

 and earlier removal of the Exactech Knee Device, thereby reducing damage to bone and tissue.

        208.    As a result of Exactech’s actions, omissions, and misrepresentations, many

 individuals underwent revision surgeries during which they received new Exactech polyethylene

 components, subjecting them to a new exposure to the defective polyethylene and the need for yet

 another revision in the following years, while Exactech profited from selling more of its products.




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         209.    As a result of Exactech’s actions, omissions, and misrepresentations, Plaintiff and

 Plaintiff’s healthcare providers were unaware, and could not have reasonably known, learned, or

 discovered through reasonable diligence, that Plaintiff had been exposed to the risks identified

 herein, and that those risks were the result of defects in Exactech’s Knee Device.

         210.    Accordingly, no limitations period should accrue until such time as Plaintiffs knew

 or reasonably should have known of some causal connection between Plaintiff being implanted

 with Exactech’s Knee Device, and the resulting harm later suffered by Plaintiff as a result and by

 reason of Exactech’s fraudulent concealment.

         211.    Additionally, Defendants are equitably estopped from asserting any limitations

 defense by virtue of their fraudulent concealment and other misconduct as described herein.

         212.    Further, the limitations period should be tolled under principles of equitable tolling.

                            CAUSES OF ACTION PURSUANT TO
                        THE NEW JERSEY PRODUCT LIABILITY ACT
                                N.J. Stat. § 2A:58C-2 et seq.

                               FIRST CAUSE OF ACTION
                     STRICT LIABILITY—MANUFACTURING DEFECT

                        (Against Exactech Defendants and TPG Defendants4)


         213.    Plaintiffs hereby incorporate by reference all previous paragraphs of this Complaint

 as if fully set forth herein and further allege as follows:

         214.    Prior to Plaintiff’s initial knee surgery, and at all times relevant to this action,

 Defendants tested, studied, researched, designed, formulated, manufactured, inspected, labeled,

 packaged, promoted, advertised, marketed, distributed, and/or sold the Device for implantation

 into consumers, such as Plaintiff, by orthopedic surgeons in the United States.

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   Plaintiffs’ claims against TPG Defendants are based on the general concepts of successor liability
 and piercing the corporate veil and include without limitation any similar doctrines for imposing
 liability on affiliated companies that may be available under any particular state’s governing law.


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         215.    The Defendants had a duty to manufacture the Device in a manner that prevents

 unreasonable risk of harm or injury to users and patients, including Plaintiff.

         216.    The Defendants had a duty to distribute, market, and/or sell the Device without

 manufacturing and related packaging defects to prevent an unreasonable risk of harm or injury to

 users and patients, including Plaintiff.

         217.    The Devices manufactured by the Defendants were not reasonably safe for their

 expected, intended, and/or foreseeable uses, functions, and purposes.

         218.    The Devices were not reasonably safe as manufactured, packaged, distributed,

 marketed and/or sold by the Defendants.

         219.    The defects in manufacture of the Device were a substantial factor in causing

 Plaintiff’s injuries.

         220.    At all times herein mentioned, the Defendants tested, studied, researched, designed,

 formulated, manufactured, inspected, labeled, packaged, promoted, advertised, marketed,

 distributed, and/or sold the Device, which was implanted in Plaintiff, such that it was dangerous,

 unsafe, and defective in manufacture. The defects in manufacture include but are not limited to:

                 a.      failure to package the polyethylene components of the Device in vacuum
                         bags that contain a secondary barrier layer containing ethylene vinyl alcohol
                         (EVOH) as to prevent the components from undergoing increased oxidation
                         and causing patients to experience substantial early polyethylene wear,
                         component loosening and/or other failure causing serious complications
                         including tissue damage, osteolysis, and other injuries as well as the need
                         for revision surgery;

                 b.      the materials used to package the Device were of an inferior grade or
                         quality;

                 c.      that the Device as manufactured differed from Defendants’ intended
                         specifications;

                 d.      that Defendants failed to measure and/or test an adequate number of
                         samples of Devices on an ongoing basis;


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                e.      that Defendants failed to take corrective actions to eliminate or minimize
                        further failures of the Device;

                f.      that Defendants failed to perform adequate quality control or other such
                        testing on the polyethylene inserts used in the Device to ensure they
                        complied with required specifications and were not prematurely degrading
                        while stored;

                g.      failure to select appropriate third parties to package the polyethylene inserts
                        used in the Device;

                h.      failure to properly supervise and monitor the packaging of the polyethylene
                        inserts used in the Device;

                i.      failure to exercise sufficient quality control to ensure the polyethylene
                        inserts in the Devices were safe for implantation in users and patients and
                        would not degrade abnormally under average and regular use; and

                j.      that Defendants violated applicable state and federal laws and regulations;
                        and in all other ways.

        221.    Defendants knew or reasonably should have known and been aware that the

 Devices were defectively manufactured.

        222.    The manufacturing defects in the Device existed when the device left the

 Defendants' control.

        223.    Plaintiff’s physicians implanted the Device in the manner in which it was intended

 and recommended to be used, making such use reasonably foreseeable to Defendants.

        224.    The Device as tested, studied, researched, designed, formulated, manufactured,

 inspected, labeled, packaged, promoted, advertised, marketed, distributed, and/or sold by

 Defendants reached Plaintiff without substantial change in its condition.

        225.    As alleged herein, Defendants knew or had reason to know that the Device caused

 an increased risk of harm to the Plaintiff and other consumers due to the device’s propensity to

 undergo substantial early polyethylene wear, component loosening, and/or other failure causing

 serious complications including tissue damage, osteolysis, and other injuries as well as the need




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 for revision surgery in patients.

        226.    The manufacturing defects of the Device presented an unreasonable risk of harm to

 users and patients exposed to their danger, including Plaintiff, when used and operated for the

 purposes intended by Defendants.

        227.    The manufacturing defects of the Device presented an unreasonable risk of harm to

 users and patients exposed to their danger, including Plaintiff, when they were used and operated

 in a manner that was foreseeable to Defendants.

        228.    Plaintiff could not, by the exercise of reasonable care, have discovered the

 manufacturing defect and perceived its dangers or avoided injury.

        229.    The Defendants are strictly liable for the defective manufacture of the Device; the

 distribution, marketing, and/or sale of the defectively manufactured Device; and the injuries

 sustained by Plaintiff.

        230.    By reason of the foregoing acts, omissions and conduct committed by the

 Defendants, Plaintiff was caused to sustain serious personal injuries, conscious pain and suffering,

 physical disability, mental anguish, emotional distress, fear, loss of enjoyment of life, medical

 expenses, and financial losses.

        231.    By reason of the foregoing acts, omissions and conduct committed by Defendants,

 Plaintiff was caused to sustain serious personal injuries, conscious pain and suffering, and physical

 disability that will require continued and additional medical treatment.

        232.    As a direct, proximate, and legal consequence of the defective nature of the Device as

 described herein Plaintiff AZNIVE YEGPARIAN has suffered and continues to suffer permanent

 and debilitating injures and damages, including but not limited to, significant pain and discomfort;

 gait impairment; poor balance; difficulty walking; component part loosening; soft tissue damage;



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 bone loss; and other injuries presently undiagnosed, which all require ongoing medical care.

         233.    As a further direct, proximate, and legal consequence of the defective nature of the

 Device, Plaintiff has sustained and will sustain future damages, including but not limited to cost of

 medical care; rehabilitation; home health care; loss of earning capacity; mental and emotional

 distress; and pain and suffering.

         234.    Defendants acted intentionally, recklessly, and wantonly without regard for

 Plaintiff’s rights beyond all standards of decency, entitling Plaintiffs to recover punitive damages.

         WHEREFORE, Plaintiffs demand judgment against Defendants for compensatory and

  punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

  the Court deems proper.

                                 SECOND CAUSE OF ACTION
                             STRICT LIABILITY—DESIGN DEFECT

                        (Against Exactech Defendants and TPG Defendants5)


         235.    Plaintiffs hereby incorporate by reference all previous paragraphs of this Complaint

 as if fully set forth herein and further allege as follows:

         236.    Prior to Plaintiff’s initial knee surgery, and at all times relevant this action,

 Defendants tested, studied, researched, designed, formulated, manufactured, inspected, labeled,

 packaged, promoted, advertised, marketed, distributed, and/or sold the Device for implantation

 into consumers, such as Plaintiff, by orthopedic surgeons in the United States.

         237.    Defendants had a duty to design and package the Device in a manner that did not

 present an unreasonable risk of harm or injury to users and patients exposed to their danger,


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   Plaintiffs’ claims against TPG Defendants are based on the general concepts of successor liability
 and piercing the corporate veil and include without limitation any similar doctrines for imposing
 liability on affiliated companies that may be available under any particular state’s governing law.


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 including Plaintiff.

        238.    Defendants had a duty to distribute, market, and/or sell the Device with a design

 that did not present an unreasonable risk of harm or injury to users and patients exposed to their

 danger, including Plaintiff.

        239.    The design of the Device and corresponding packaging is defective and not

 reasonably safe for its expected, intended, and/or foreseeable uses, functions, and purposes.

        240.    The Device and corresponding packaging are not reasonably safe as designed,

 distributed, marketed, delivered and/or sold by Defendants.

        241.    The defective design of the Device and packaging received by Plaintiff’s implanting

 surgeon was a substantial factor in causing Plaintiff’s injuries.

        242.    At all times relevant to this action, the Defendants tested, studied, researched,

 designed, formulated, manufactured, inspected, labeled, packaged, promoted, advertised,

 marketed, distributed, and/or sold the Device, which was implanted in Plaintiff, such that it was

 dangerous, unsafe, and defective in design. The defects in the design include but are not limited

 to:

                a.      that the Device has propensity to undergo substantial early polyethylene wear,
                        component loosening and/or other failure causing serious complications
                        including tissue damage, osteolysis, and other injuries as well as the need for
                        revision surgery in patients;

                b.      failure to design the packaging for the polyethylene components of the
                        Device in vacuum bags that contain a secondary barrier layer containing
                        ethylene vinyl alcohol (EVOH) as to prevent the components from
                        undergoing increased oxidation and causing patients to experience
                        substantial early polyethylene wear, component loosening and/or other
                        failure causing serious complications including tissue damage, osteolysis,
                        and other injuries as well as the need for revision surgery;

                c.      that the materials used within the Device and packaging were of an inferior
                        grade or quality than advertised and promoted by Defendants;



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                d.      Defendants failed to conduct adequate testing, including wear or other testing,
                        on components, subassemblies and/or the finished Device as packaged and
                        distributed;

                e.      Defendants failed to test an adequate number of samples of
                        Devices on an ongoing basis;

                f.      Defendants failed to take adequate steps to specifically identify failure
                        modes with the Device with clarity and to suggest methods to monitor,
                        avoid, and/or prevent further failures;

                g.      Defendants failed to identify and/or note the significance of any testing that
                        resulted in failure of the Device;

                h.      Defendants failed to take corrective actions to eliminate or minimize further
                        failures of the Device;

                i.      Defendants failed to adequately design packaging specifications for the
                        components, subassemblies, and/or the finished Device;

                j.      The polyethylene material used in the Device in conjunction with the
                        inferior vacuum bags caused and/or contributed to the devices having a
                        higher failure rate than other similar devices available at the time the
                        Devices were put on the market;

                k.      The polyethylene material used in the Device in conjunction with the
                        inferior vacuum bags caused and/or contributed to the devices having a
                        shorter effective lifetime than other similar devices available at the time the
                        Devices were put on the market;

                l.      The Defendants’ method of designing the polyethylene insert and
                        packaging increased the risk of users and patients suffering from pain,
                        discomfort, injury, and the need for revision surgery; and

                m.      that Defendants violated applicable state and federal laws and regulations;
                        and in all other ways.

        243.    Defendants knew or reasonably should have known and been aware that the

 Devices and packaging were defectively designed.

        244.    The design defects in the Device and packaging existed when the device left the

 Defendants' control.

        245.    Plaintiff’s physicians implanted the Device in the manner in which it was intended

 and recommended to be used, making such use reasonably foreseeable to Defendants.


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        246.      The Device as tested, studied, researched, designed, formulated, manufactured,

 inspected, labeled, packaged, promoted, advertised, marketed, distributed, and/or sold by

 Defendants reached Plaintiff without substantial change in its condition.

        247.      As alleged herein, Defendants knew or had reason to know that the Device caused

 an increased risk of harm to the Plaintiff and other consumers due to the device’s propensity to

 undergo substantial early polyethylene wear, component loosening, and/or other failure causing

 serious complications including tissue damage, osteolysis, and other injuries as well as the need

 for revision surgery in patients.

        248.      The Device and packaging as designed carried risks that were outweighed by any utility

 of the design of the device and packaging because when paired together, the Device and packaging

 were dangerous to an extent beyond that which would be contemplated by the ordinary consumer. At

 no time did Plaintiff have reason to believe that the Device and the packaging in which it was received

 were in a condition not suitable for proper and intended use.

        249.      The Device and packaging were defective in design and unreasonably dangerous

 when it entered the stream of commerce and was received by Plaintiff, because the foreseeable

 risks exceeded or outweighed the purported benefits associated with the device.

        250.      Feasible safer alternative designs providing the same functional purpose were

 available to the Defendants at the time the Device was designed and packaged and offered for sale

 in the market.

        251.      For example, Defendants could have utilized vacuum bags containing a secondary

 barrier layer containing ethylene vinyl alcohol (EVOH) as to prevent the polyethylene components

 from undergoing increased oxidation according to their own admissions.

        252.      The design defects of the Device and corresponding packaging presented an



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 unreasonable risk of harm to users and patients exposed to their danger, including Plaintiff, when

 used and operated for the purposes intended by Defendants.

        253.    The design defects of the Device and corresponding packaging presented an

 unreasonable risk of harm to users and patients exposed to their danger, including Plaintiff, when

 they were used and operated in a manner that was foreseeable to Defendants.

        254.    Plaintiff could not, by the exercise of reasonable care, have discovered these design

 defects and perceived their dangers or avoided injury.

        255.    The Defendants are strictly liable for the defective design of the Device; defective

 design of the packaging of the Device; the distribution, marketing, and/or sale of the Optetrak

 Device; and the injuries sustained by Plaintiff.

        256.    By reason of the foregoing acts, omissions and conduct committed by the

 Defendants, Plaintiff was caused to sustain serious personal injuries, conscious pain and suffering,

 physical disability, mental anguish, emotional distress, fear, loss of enjoyment of life, medical

 expenses, and financial losses.

        257.    By reason of the foregoing acts, omissions and conduct committed by Defendants,

 Plaintiff was caused to sustain serious personal injuries, conscious pain and suffering, and physical

 disability that will require continued and additional medical treatment.

        258.    As a direct, proximate, and legal consequence of the defective nature of the Device as

 described herein, Plaintiff AZNIVE YEGPARIAN has suffered and continues to suffer permanent

 and debilitating injures and damages, including but not limited to, significant pain and discomfort;

 gait impairment; poor balance; difficulty walking; component part loosening; soft tissue damage;

 bone loss; and other injuries presently undiagnosed, which all require ongoing medical care.

        259.    As a further direct, proximate, and legal consequence of the defective nature of the



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 Device, Plaintiff has sustained and will sustain future damages, including but not limited to cost of

 medical care; rehabilitation; home health care; loss of earning capacity; mental and emotional

 distress; and pain and suffering.

         260.    Defendants acted intentionally, recklessly, and wantonly without regard for

 Plaintiff’s rights beyond all standards of decency, entitling Plaintiffs to recover punitive damages.

         WHEREFORE, Plaintiffs demand judgment against Defendants for compensatory and

 punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

 the Court deems proper.

                                 THIRD CAUSE OF ACTION
                           STRICT LIABILITY—FAILURE TO WARN

                        (Against Exactech Defendants and TPG Defendants6)

         261.    Plaintiffs hereby incorporate by reference all previous paragraphs of this Complaint

 as if fully set forth herein and further allege as follows:

         262.    Prior to Plaintiff’s initial knee surgery, and at all times relevant to this action,

 Defendants tested, studied, researched, designed, formulated, manufactured, inspected, labeled,

 packaged, promoted, advertised, marketed, distributed, and/or sold the Device for implantation

 into consumers, such as Plaintiff, by orthopedic surgeons in the United States.

         263.    Defendants had a duty to provide adequate warnings regarding the Device in a

 manner that did not present an unreasonable risk of harm or injury to users and patients exposed

 to their danger, including Plaintiff.

         264.    Defendants had a duty to distribute, market, and/or sell the Device with adequate

 warnings that did not present an unreasonable risk of harm or injury to users and patients exposed

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   Plaintiffs’ claims against TPG Defendants are based on the general concepts of successor liability
 and piercing the corporate veil and include without limitation any similar doctrines for imposing
 liability on affiliated companies that may be available under any particular state’s governing law.


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 to their danger, including Plaintiff.

        265.    The warnings that accompanied the Device and corresponding packaging were

 defective, thereby making the product not reasonably safe for its expected, intended, and/or

 foreseeable uses, functions and purposes.

        266.    The Device and corresponding packaging are not reasonably safe as labeled,

 distributed, marketed, delivered and/or sold by Defendants.

        267.    Inadequate labeling accompanying the Device and packaging received by Plaintiff’s

 implanting surgeon was a substantial factor in causing Plaintiff’s injuries.

        268.    At all times relevant to this action, the Defendants tested, studied, researched,

 designed, formulated, manufactured, inspected, labeled, packaged, promoted, advertised,

 marketed, distributed, and/or sold the Device, which was implanted in Plaintiff, such that it was

 dangerous, unsafe, and defective.

        269.    The Device was defective and unreasonably dangerous when it entered the stream

 of commerce and was received by Plaintiff, because the warnings in the instructions for use,

 operative techniques, directions, marketing and promotional materials, advertisements, white

 papers, and other communications provided by Defendants or its sales force to physicians and

 patients with or about the Device failed to adequately convey the potential risks and side effects of

 the Device and the dangerous propensities of the device, which risks were known or were

 reasonably scientifically knowable to Defendants.

        270.    In particular, Defendants failed to adequately disclose the device’s propensity to

 undergo substantial early polyethylene wear, component loosening and/or other failure causing

 serious complications including tissue damage, bone loss, osteolysis, and other injuries as well as

 the need for revision surgery in patients.



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        271.    Defendants consciously disregarded the increased risks of harm by failing to

 adequately warn of such risks; unlawfully concealing the dangerous problems associated with

 implantation of the Device; and continuing to market, promote, sell, and defend the Device until

 the very recent recall.

        272.    Defendants knew or reasonably should have known and been aware that the

 Devices and packaging contained inadequate warnings.

        273.    The inadequate warnings for the Device existed when the device left the

 Defendants' control.

        274.    Plaintiff’s physician implanted the Device in the manner in which it was intended

 and recommended to be used, making such use reasonably foreseeable to Defendants.

        275.    The Device as tested, studied, researched, designed, formulated, manufactured,

 inspected, labeled, packaged, promoted, advertised, marketed, distributed, and/or sold by

 Defendants reached Plaintiff without substantial change in its condition.

        276.    As alleged herein, Defendants knew or had reason to know that the Device caused

 an increased risk of harm to the Plaintiff and other consumers due to the device’s propensity to

 undergo substantial early polyethylene wear, component loosening, and/or other failure causing

 serious complications including tissue damage, osteolysis, and other injuries as well as the need

 for revision surgery in patients.

        277.    The Device that was labeled, manufactured, distributed, and sold by the Defendants

 to Plaintiff was in a defective condition that was unreasonably dangerous to any user or ordinary

 consumer of the device, including Plaintiff.

        278.    The labeling defects of the Device and corresponding packaging presented an

 unreasonable risk of harm to users and patients exposed to their danger, including Plaintiff, when



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 used and operated for the purposes intended by Defendants.

        279.    The labeling defects of the Device and corresponding packaging presented an

 unreasonable risk of harm to users and patients exposed to their danger, including Plaintiff, when

 they were used and operated in a manner that was foreseeable to Defendants.

        280.    Plaintiff could not, by the exercise of reasonable care, have discovered these defects

 and perceived their dangers or avoided injury.

        281.    Defendants failed to issue new warnings or initiate a recall in a timely manner as to

 help minimize the damage and bone loss occurring in patients, including Plaintiff.

        282.    The Defendants are strictly liable for providing inadequate warnings accompanying

 the Device and packaging of the Device; the distribution, marketing, and/or sale of the Device;

 and the injuries sustained by Plaintiff.

        283.    By reason of the foregoing acts, omissions, and conduct committed by the

 Defendants, Plaintiff was caused to sustain serious personal injuries, conscious pain and suffering,

 physical disability, mental anguish, emotional distress, fear, loss of enjoyment of life, medical

 expenses, and financial losses.

        284.    By reason of the foregoing acts, omissions and conduct committed by Defendants,

 Plaintiff was caused to sustain serious personal injuries, conscious pain and suffering, and physical

 disability that will require continued and additional medical treatment.

        285.    As a direct, proximate, and legal consequence of the defective nature of the Device as

 described herein, Plaintiff AZNIVE YEGPARIAN has suffered and continues to suffer permanent

 and debilitating injures and damages, including but not limited to, significant pain and discomfort;

 gait impairment; poor balance; difficulty walking; component part loosening; soft tissue damage;

 bone loss; and other injuries presently undiagnosed, which all require ongoing medical care.



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         286.    As a further direct, proximate, and legal consequence of the defective nature of the

 Device, Plaintiff has sustained and will sustain future damages, including but not limited to cost of

 medical care; rehabilitation; home health care; loss of earning capacity; mental and emotional

 distress; and pain and suffering.

         287.    Defendants acted intentionally, recklessly, and wantonly without regard for

 Plaintiff’s rights beyond all standards of decency, entitling Plaintiffs to recover punitive damages.

         WHEREFORE, Plaintiffs demand judgment against Defendants for compensatory and

 punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

 the Court deems proper.

                                     FOURTH CAUSE OF ACTION
                                          NEGLIGENCE

                        (Against Exactech Defendants and TPG Defendants7)

         288.    Plaintiffs hereby incorporate by reference all previous paragraphs of this Complaint

 as if fully set forth herein and further allege as follows:

         289.    Prior to Plaintiff’s initial knee surgery, and at all times relevant to this action,

 Defendants tested, studied, researched, designed, formulated, manufactured, inspected, labeled,

 packaged, promoted, advertised, marketed, distributed, and/or sold the Device for implantation

 into consumers, such as Plaintiff, by orthopedic surgeons in the United States.

         290.    Prior to, on, and after the dates of Plaintiff’s initial knee surgery, and at all times

 relevant to this action, Defendants had a duty to exercise reasonable care in testing, study, research,

 design, formulation, manufacture, inspection, labeling, packaging, promotion, advertisement,

 marketing, distribution, and sale of the Device for implantation into consumers, such as Plaintiff, by

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   Plaintiffs’ claims against TPG Defendants are based on the general concepts of successor liability
 and piercing the corporate veil and include without limitation any similar doctrines for imposing
 liability on affiliated companies that may be available under any particular state’s governing law.


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 physicians and surgeons in the United States.

         291.      Prior to, on, and after the dates of Plaintiff’s initial knee surgery, Defendants

 breached this duty and failed to exercise reasonable care and were grossly negligent and careless

 in the testing, study, research, design, formulation, manufacture, inspection, labeling, packaging,

 promotion, advertisement, marketing, distribution, and sale of the Device.

         292.      Following Plaintiff’s initial knee surgery, Defendants breached this duty and failed

 to exercise reasonable care and were grossly negligent and careless in failing to recall the Device.

         293.      At all times material hereto, the Defendants had actual knowledge, or in the

 alternative, should have known through the exercise of reasonable and prudent care, of the hazards

 and dangers associated with the Device.

         294.      Defendants had access to registry data and were aware of complaints that the

 Device caused serious complications including but not limited to polyethylene wear and/or other

 failure causing serious complications including component loosening, tissue damage, osteolysis,

 bone loss and the need for revision surgery in patients.

         295.      Despite the fact that Defendants knew or should have known the Device posed a

 serious risk of bodily harm to consumers, Defendants continued to manufacture and market the

 Device for implantation into consumers.

         296.      Despite the fact that Defendants knew or should have known the Device posed a

 serious risk of bodily harm to consumers, Defendants continued to manufacture and market the

 Device for implantation into consumers without revising any warning language or issuing an

 earlier recall.

         297.      Defendants failed to advise surgeons and patients of the need for regular follow-

 up—beyond the ordinary practices after a total knee implant—to promptly detect polyethylene



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 degradation and osteolytic failure and timely revise the device to prevent or at least minimize bone

 loss, osteolysis and related injuries.

         298.    Defendants failed to exercise due care under the circumstances, and their gross

 negligence and recklessness includes the following acts and omissions:

                 a. Negligently failing to properly package the polyethylene components of the
                    Device;

                 b. Negligently failing to select appropriate third parties to package the
                    polyethylene inserts used in the Device;

                 c. Negligently failing to properly supervise and monitor the packaging of the
                    polyethylene inserts used in the Device;

                 d. Negligently failing to properly and thoroughly select the material that would be
                    used in the packaging of the Device;

                 e. Negligently failing to properly and thoroughly select the materials that would
                    be used in the Device;

                 f. Negligently failing to properly and adequately test the Device and their
                    attendant parts before releasing the devices to market;

                 g. Negligently failing to conduct sufficient post-market testing and surveillance of
                    the Device;

                 h. Negligently failing to adequately prevent, identify, mitigate, and fix defective
                    designs and hazards associated with the Device in accordance with good
                    practices;

                 i. Negligently designing, manufacturing, marketing, advertising, distributing, and
                    selling the Device;

                 j. Continuing to negligently manufacture, and distribute the Device after the
                    Defendants knew or should have known of their adverse effects and/or the
                    increased early onset failure rates;

                 k. Negligently designing, manufacturing, marketing, advertising, distributing, and
                    selling the Device to consumers, including Plaintiff, without an adequate
                    warning of the dangerous risks of the Device;

                 l. Negligently failing to notify and warn the public, including Plaintiff, and
                    physicians of reported incidents involving injury and the negative health effects
                    attendant to the use of the Device;


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                m. Negligently misrepresenting the safety of the Device;

                n. Negligently failing to provide warnings, instructions or other information that
                   accurately reflected the risks of early failure of the Device;

                o. Negligently failing to provide warnings, instructions or other information that
                   accurately reflected the risks of early degradation of the polyethylene substance
                   in the Device;

                p. Negligently failing to exercise due care in the advertisement and promotion of
                   the Device;

                q. Negligently disseminating information that was inaccurate, false, and
                   misleading, and which failed to communicate accurately or adequately the high
                   early failure rate associated with the implantation of the Device;

                r. Aggressively promoting the Device without proper warnings of the risk of early
                   failure or material degradation in the average user;

                s. Aggressively promoting the Device even after Defendants knew or should have
                   known of the unreasonable risks from implantation;

                t. Negligently failing to warn consumers, doctors, users and patients that the
                   Device would contain polyethylene materials not properly packaged and/or in
                   accordance with Defendants’ specifications;

                u. Negligently diminishing or hiding the risks associated with the implantation of
                   the Device;

                v. Negligently failing to recall the Device at an earlier date and institute a process
                   to have patients notified; and

                w. Negligently violating applicable state and federal laws and regulations; and in
                   all other ways.

        299.    Defendants knew and/or should have known that it was foreseeable that consumers

 such as Plaintiff would suffer injuries as a result of Defendants’ failure to exercise ordinary care

 in the manufacture, design, testing, assembly, inspection, labeling, packaging, supplying,

 marketing, selling, advertising, preparing for use, warning of the risks and dangers of the Defective

 Implants, and otherwise distributing the Device.

        300.    By reason of the foregoing acts, omissions, and conduct committed by the

 Defendants, Plaintiff was caused to sustain serious personal injuries, conscious pain and suffering,


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 physical disability, mental anguish, emotional distress, fear, loss of enjoyment of life, medical

 expenses, and financial losses.

         301.   By reason of the foregoing acts, omissions, and conduct committed by Defendants,

 Plaintiff was caused to sustain serious personal injuries, conscious pain and suffering, and physical

 disability that will require continued and additional medical treatment.

         302.   As a direct and proximate result of Defendants’ acts and omissions, including their

 failure to exercise ordinary care in the design, formulation, testing, manufacture, labeling, sale,

 and distribution of the Device, Plaintiff AZNIVE YEGPARIAN was implanted with the Device

 and was caused to sustain serious personal injuries, conscious pain and suffering, physical

 disability, mental anguish, emotional distress, fear, loss of enjoyment of life, medical expenses,

 and financial losses.

         303.   As a further direct, proximate, and legal consequence of Defendants’ acts and

 omissions, including their failure to exercise ordinary care in the design, formulation, testing,

 manufacture, labeling, sale, and distribution of the Device, Plaintiff has sustained and will sustain

 future damages, including but not limited to cost of medical care; rehabilitation; home health care;

 loss of earning capacity; mental and emotional distress; and pain and suffering.

         304.   Defendants acted intentionally, recklessly, and wantonly without regard for

 Plaintiff’s rights beyond all standards of decency, entitling Plaintiffs to recover punitive damages.

         WHEREFORE, Plaintiffs demand judgment against Defendants for compensatory and

  punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

  the Court deems proper.




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                                 FIFTH CAUSE OF ACTION
                              NEGLIGENT MISREPRESENTATION

                        (Against Exactech Defendants and TPG Defendants8)

         305.    Plaintiffs hereby incorporate by reference all previous paragraphs of this Complaint

 as if fully set forth herein and further allege as follows:

         306.    Prior to Plaintiff’s initial knee surgery, and at all times relevant this action,

 Defendants tested, studied, researched, designed, formulated, manufactured, inspected, labeled,

 packaged, promoted, advertised, marketed, distributed, and/or sold the Device for implantation

 into consumers, such as Plaintiff, by orthopedic surgeons in the United States.

         307.    Defendants owed a duty to orthopedic surgeons, other healthcare providers and to

 consumers of the Device, including Plaintiff, to accurately and truthfully represent the risks of the

 Device. Defendants breached their duty by misrepresenting and/or failing to adequately warn

 Plaintiff’s orthopedic surgeon, the medical community, Plaintiff, and the public about the risks of

 the Device, including the device’s propensity to undergo substantial early polyethylene wear,

 component loosening and/or other failure causing serious complications including tissue damage,

 osteolysis, and other injuries as well as the need for revision surgery in patients, which Defendants

 knew or in the exercise of diligence should have known.

         308.    The Defendants, as the designers, manufacturers, sellers, promoters, and/or

 distributors of the Device knew, or reasonably should have known, that health care professionals

 and consumers of the Device would rely on information disseminated and marketed to them

 regarding the product when weighing the potential benefits and potential risks of implanting the

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   Plaintiffs’ claims against TPG Defendants are based on the general concepts of successor liability
 and piercing the corporate veil and include without limitation any similar doctrines for imposing
 liability on affiliated companies that may be available under any particular state’s governing law.


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 Device.

        309.    The Defendants, as the designers, manufacturers, sellers, promoters, and/or

 distributors of the Device knew, or reasonably should have known, that the patients implanted with

 Device would suffer early failure and require revision surgery because the information

 disseminated by Defendants and relied upon by health care professionals and consumers, including

 Plaintiff, was materially inaccurate, misleading, or otherwise false.

        310.    The Defendants failed to exercise reasonable care to ensure that the information

 they disseminated to health care professionals and consumers concerning the quality and longevity

 of the Device was accurate, complete, and not misleading. As a result, Defendants disseminated

 information to health care professionals and consumers that was materially inaccurate, misleading,

 false, and unreasonably dangerous to consumers such as Plaintiff.

        311.    Among Defendants’ numerous misrepresentations and misleading omissions are

 Defendants’ assurances that the Device was safe, had an excellent performance record, and did not

 have a greater propensity to undergo substantial early polyethylene wear, component loosening

 and/or other failure causing serious complications including tissue damage, osteolysis, and other

 injuries as well as the need for revision surgery in patients.

        312.    Despite their knowledge of serious problems with the Device, Defendants urged their

 sales representatives to continue marketing the Device, and distributed medical literature, white

 papers, non-peer-reviewed studies, and other communications to surgeons in an effort to mislead

 them and the general public about the risks associated with the Device and instead create the image

 and impression that the Device was safe.

        313.    Defendants made such statements even after they became aware of numerous and

 serious complications with the Device. Defendants did not reveal (and instead concealed) their



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 knowledge of numerous and serious complications and other bad data.

        314.    Defendants made these representations with the intent to induce reliance thereon,

 and to encourage purchase and implantation of the Device.

        315.    The misrepresentations made by Defendants, in fact, were false and known by

 Defendants to be false at the time the misrepresentations were made.

        316.    Misrepresentations spanned a number of years, but also include the critical time

 period of 2017–2018 when the company was in the process of being acquired by the Private Equity

 Group TPG Capital, which in February 2018 successfully completed a merger agreement. As a

 result, TPG acquired all of the issued and outstanding common stock of Exactech. In connection

 with the transaction, Exactech’s founders, CEO and certain other management shareholders

 exchanged a portion of their shares in the transaction, for new equity securities in the post-closing

 ownership of the Company. See Exactech Announces Completion of Merger with TPG Capital,

 EXACTECH (Feb. 14, 2018), https://www.exac.com/exactech-announces-completion-of-merger-

 with-tpg-capital (last visited Jan. 21, 2023).

        317.    After the merger in 2018, it still took four years for Defendants to reveal the product

 defects and their health consequences to the medical community and to the patients, including

 Plaintiff, even though the key officers of Exactech generally continued with their roles in the newly

 merged company.

        318.    Defendants failed to exercise ordinary care in making their representations

 concerning the Device and, in the manufacture, sale, testing, quality assurance, quality control,

 and distribution in interstate commerce of the Device.

        319.    By reason of the foregoing acts, omissions and conduct committed by the

 Defendants, Plaintiff was caused to sustain serious personal injuries, conscious pain and suffering,



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 physical disability, mental anguish, emotional distress, fear, loss of enjoyment of life, medical

 expenses, and financial losses.

         320.     By reason of the foregoing acts, omissions and conduct committed by Defendants,

 Plaintiff was caused to sustain serious personal injuries, conscious pain and suffering, and physical

 disability that will require continued and additional medical treatment.

         321.     As a direct and proximate result of Defendants’ acts and omissions, including

 Defendants’ negligent misrepresentations regarding the Device, Plaintiff AZNIVE YEGPARIAN

 was implanted with the Device and was caused to sustain serious personal injuries, conscious pain

 and suffering, physical disability, mental anguish, emotional distress, fear, loss of enjoyment of

 life, medical expenses, and financial losses.

         322.     As a further direct, proximate, and legal consequence of Defendants’ acts and

 omissions, including Defendants’ negligent misrepresentations regarding the Device, Plaintiff has

 sustained and will sustain future damages, including but not limited to cost of medical care;

 rehabilitation; home health care; loss of earning capacity; mental and emotional distress; and pain

 and suffering.

         323.     Defendants acted intentionally, recklessly, and wantonly without regard for

 Plaintiff’s rights beyond all standards of decency, entitling Plaintiffs to recover punitive damages.

         WHEREFORE, Plaintiffs demand judgment against Defendants for compensatory and

  punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

  the Court deems proper.




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                                  SIXTH CAUSE OF ACTION
                               BREACH OF EXPRESS WARRANTY

                        (Against Exactech Defendants and TPG Defendants9)

         324.    Plaintiffs hereby incorporate by reference all previous paragraphs of this Complaint

 as if fully set forth herein and further allege as follows:

         325.    Prior to Plaintiff’s initial knee surgery, and at all times relevant to this action,

 Defendants tested, studied, researched, designed, formulated, manufactured, inspected, labeled,

 packaged, promoted, advertised, marketed, distributed, and/or sold the Device for implantation

 into consumers, such as Plaintiff, by orthopedic surgeons in the United States.

         326.    Defendants expressly warranted that the Devices, including the Optetrak

 Comprehensive Total Knee System, were safe and effective orthopedic devices.

         327.    Defendants promised that the Device had excellent long-term clinical outcomes and

 that “surgeons and patients can have every confidence in the performance and longevity of the

 Optetrak knee system.”

         328.    At the time Defendants manufactured, marketed, sold and/or distributed the

 Devices, they knew that the devices were intended for human use, and that Plaintiff was a

 foreseeable user of the Device.

         329.    The express warranties represented by Defendants were a part of the basis for

 Plaintiff’s use of the Devices, and she and her surgeon relied on these warranties in deciding to

 use the Device.

         330.    At the time of the making of the express warranties, Defendants had knowledge of

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   Plaintiffs’ claims against TPG Defendants are based on the general concepts of successor liability
 and piercing the corporate veil and include without limitation any similar doctrines for imposing
 liability on affiliated companies that may be available under any particular state’s governing law.


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 the purpose for which the Device was to be used and warrantied the same to be in all respects safe,

 effective and proper for such purpose.

           331.   The Device did not conform to these express representations, as demonstrated by

 the fact that Plaintiff’s implant failed prematurely due to polyethylene wear of the tibial insert

 which necessitated her to undergo revision surgery.

           332.   At the time Defendants marketed, sold and/or distributed the Devices, Defendants

 expressly warranted that the total knee replacement systems, including all of their component parts,

 were safe and merchantable for their intended use.

           333.   Plaintiff AZNIVE YEGPARIAN and her implanting physician reasonably relied

 upon Defendants’ express warranties.

           334.   Plaintiff AZNIVE YEGPARIAN used the Device for its intended purpose, and in

 a reasonable, foreseeable manner.

           335.   The Device manufactured and sold by Defendants, did not conform to Defendants’

 express representations because the Device caused serious injury to Plaintiff when used as

 recommended and directed.

           336.   As a direct and proximate result of Defendants’ acts and omissions, including

 breach of express warranty, Plaintiff AZNIVE YEGPARIAN was implanted with the Device and

 was caused to sustain serious personal injuries, conscious pain and suffering, physical disability,

 mental anguish, emotional distress, fear, loss of enjoyment of life, medical expenses, and financial

 losses.

           337.   As a further direct, proximate, and legal consequence of Defendants’ acts and

 omissions, including breach of express warranty, Plaintiff has sustained and will sustain future

 damages, including but not limited to cost of medical care; rehabilitation; home health care; loss of



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 earning capacity; mental and emotional distress; and pain and suffering.

         338.    Defendants acted intentionally, recklessly, and wantonly without regard for

 Plaintiff’s rights beyond all standards of decency, entitling Plaintiffs to recover punitive damages.

         WHEREFORE, Plaintiffs demand judgment against Defendants for compensatory and

  punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

  the Court deems proper.

                                 SEVENTH CAUSE OF ACTION
                               BREACH OF IMPLIED WARRANTY

                        (Against Exactech Defendants and TPG Defendants10)

         339.    Plaintiffs hereby incorporate by reference all previous paragraphs of this Complaint

 as if fully set forth herein and further allege as follows:

         340.    Prior to Plaintiff’s initial knee surgery, and at all times relevant to this action,

 Defendants tested, studied, researched, designed, formulated, manufactured, inspected, labeled,

 packaged, promoted, advertised, marketed, distributed, and/or sold the Device for implantation

 into consumers, such as Plaintiff, by orthopedic surgeons in the United States.

         341.    Defendants impliedly warranted, through its marketing, advertising, distributors

 and sales representatives, that the Device was of merchantable quality, and fit for the ordinary

 purposes and uses for which it was sold.

         342.    In fact, the Device was not of merchantable quality nor fit for the ordinary purposes

 and uses for which it was sold and did not meet the expectations of consumers.

         343.    The Device manufactured and supplied by Defendants was not of merchantable


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    Plaintiffs’ claims against TPG Defendants are based on the general concepts of successor
 liability and piercing the corporate veil and include without limitation any similar doctrines for
 imposing liability on affiliated companies that may be available under any particular state’s
 governing law.


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 quality and was not fit for the ordinary and/or particular purpose for which it was intended as

 physicians and patients would expect the components to be properly packaged and stored as to

 avoid premature degradation of component materials.

           344.   Plaintiff AZNIVE YEGPARIAN and/or her physician reasonably relied upon the

 skill and judgment of Defendants as to whether the Device was of merchantable quality and safe

 for its intended and particular use and purpose.

           345.   Contrary to such implied warranties, the Device was not of merchantable quality or

 safe for its intended and particular use and purpose, because Defendants failed to package the

 polyethylene components of the Device in vacuum bags containing a secondary barrier layer

 containing ethylene vinyl alcohol (EVOH) as to prevent the components from undergoing

 increased oxidation and causing patients to experience substantial early polyethylene wear,

 component loosening and/or other failure causing serious complications including tissue damage,

 osteolysis, and other injuries as well as the need for revision surgery.

           346.   As a direct and proximate result of Defendants’ acts and omissions, including

 breach of implied warranties, Plaintiff AZNIVE YEGPARIAN was implanted with the Device and

 was caused to sustain serious personal injuries, conscious pain and suffering, physical disability,

 mental anguish, emotional distress, fear, loss of enjoyment of life, medical expenses, and financial

 losses.

           347.   As a further direct, proximate, and legal consequence of Defendants’ acts and

 omissions, including breach of implied warranties, Plaintiff has sustained and will sustain future

 damages, including but not limited to cost of medical care; rehabilitation; home health care; loss of

 earning capacity; mental and emotional distress; and pain and suffering.

           348.   Defendants acted intentionally, recklessly, and wantonly without regard for



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 Plaintiff’s rights beyond all standards of decency, entitling Plaintiffs to recover punitive damages.

         WHEREFORE, Plaintiffs demand judgment against Defendants for compensatory and

  punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

  the Court deems proper.

                                EIGHTH CAUSE OF ACTION
                           LOSS OF CONSORTIUM AND SERVICES

                       (Against Exactech Defendants and TPG Defendants11)

         349.    Plaintiffs hereby incorporate by reference all previous paragraphs of this Complaint

 as if fully set forth herein and further allege as follows:

         350.    At all relevant times, Plaintiff VRAM YEGPARIAN was and is the lawfully

 wedded husband of Plaintiff AZNIVE YEGPARIAN, and as such, was and is entitled to the

 services, consortium and society of Plaintiff AZNIVE YEGPARIAN.

         351.    As a result of the foregoing strict products liability, negligence, and breach of

 warranties by the defendants, VRAM YEGPARIAN, was deprived of the services, consortium,

 and society of Plaintiff AZNIVE YEGPARIAN.

         352.    As a direct, proximate, and legal consequence of Defendants’ wrongful conduct as

 described herein, whether through strict liability or negligence, Plaintiff VRAM YEGPARIAN

 has suffered and will continue to suffer the loss of support, companionship, service, love, affection,

 society, intimate relations, and other elements of consortium all to the detriment of their marital

 relationship for which Plaintiff VRAM YEGPARIAN is entitled to compensatory damages in an

 amount to be proven at trial.


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    Plaintiffs’ claims against TPG Defendants are based on the general concepts of successor
 liability and piercing the corporate veil and include without limitation any similar doctrines for
 imposing liability on affiliated companies that may be available under any particular state’s
 governing law.


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         WHEREFORE, Plaintiffs demand judgment against Defendants for compensatory and

  punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

  the Court deems proper.


                                        NINTH CAUSE OF ACTION
                                          PUNITIVE DAMAGES

         353.    Plaintiffs hereby incorporate by reference all previous paragraphs of this Complaint

 as if fully set forth herein and further allege as follows:

         354.    Prior to Plaintiff’s initial knee surgery, and at all times relevant this action,

 Defendants tested, studied, researched, designed, formulated, manufactured, inspected, labeled,

 packaged, promoted, advertised, marketed, distributed, and/or sold the Device for implantation

 into consumers, such as Plaintiff, by orthopedic surgeons in the United States.

         355.    At all times material hereto, Defendants knew or should have known the Device

 was inherently more dangerous with respect to the risk of premature polyethylene wear and a

 shorter life span and need for additional surgeries compared to other knee replacement systems.

         356.    At all times material hereto, Defendants attempted to misrepresent, and did

 misrepresent, facts concerning the safety of the Device.

         357.    Defendants’ misrepresentations included knowingly withholding material

 information from the medical community and the public, including the Plaintiff herein, concerning

 the safety and efficacy of the Device.

         358.    At all times material hereto, Defendants knew and recklessly disregarded the fact

 the failure to properly package the polyethylene components of the Device in vacuum bags

 containing a secondary barrier layer containing ethylene vinyl alcohol (EVOH) caused patients to

 experience substantial early polyethylene wear, component loosening and/or other failure causing



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 serious complications including tissue damage, osteolysis, and other injuries as well as the need

 for revision surgery.

        359.     Notwithstanding the foregoing, Defendants aggressively marketed the Devices

 without disclosing the aforesaid side effects or changing the packaging to include vacuum bags

 containing a secondary barrier layer containing ethylene vinyl alcohol (EVOH).

        360.     Defendants knew of the Device’s defective and unreasonably dangerous nature, as

 set forth herein, but continued to design, develop, manufacture, market, distribute and sell it so as

 to maximize sales and profits at the expense of the health and safety of the public, including the

 Plaintiff herein, in conscious and/or negligent disregard of the foreseeable harm.

        361.     Defendants’ intentional and/or reckless fraudulent and malicious failure to disclose

 information deprived the Plaintiff and her surgeon of necessary information to enable them to

 weigh the true risks of using the Devices against its benefits.

        362.     The aforesaid conduct of the Defendants was committed with knowing, conscious

 and deliberate disregard for the rights and safety of consumers, including the Plaintiff herein,

 thereby entitling the Plaintiff to punitive damages in an amount appropriate to punish the

 Defendants and deter them from similar conduct in the future.

        363.     Defendants’ actions showed willful misconduct, malice, fraud, wantonness,

 oppression or that the entire want of care raises the presumption of conscious indifference to the

 consequences.

        364.     As a direct and proximate result of the Defendant’s conscious and deliberate

 disregard for the rights and safety of consumers such as the Plaintiff, the Plaintiff suffered severe

 and permanent physical injuries as set forth above.

        365.     As a further direct, proximate and legal consequence of Defendants’ acts and



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 omissions, Plaintiff has sustained and will sustain future damages, including but not limited to cost

 of medical care; rehabilitation; home health care; loss of earning capacity; mental and emotional

 distress and pain and suffering.

         WHEREFORE, Plaintiffs demand judgment against Defendants for compensatory and

  punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

  the Court deems proper.
                                          PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs demand judgment against Defendants, and each of

 them, individually, jointly, and severally, as follows:


     a. Judgment in favor of Plaintiffs and against all Defendants, for damages in such amounts as
        may be proven at trial;

     b. Compensation for both economic and non-economic losses, including but not limited to
        medical expenses, loss of earnings, disfigurement, pain and suffering, mental anguish, loss
        of consortium and emotional distress, in such amounts as may be proven at trial;

     c. Punitive and/or exemplary damages in such amounts as may be proven at trial;

     d. Attorneys’ fees and costs;

     e. Interest; and

     f. Any and all further relief, both legal and equitable, that the Court may deem just and proper.

 Dated: April 10, 2023                          Respectfully submitted,
                                        By:     /s/Ellen Relkin, Esq.
                                                WEITZ & LUXENBERG P.C.
                                                ELLEN RELKIN (ER-9536)
                                                700 Broadway
                                                New York, New York 1003
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                                                E-mail: erelkin@weitzlux.com
                                                Attorney for Plaintiffs




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                                 DEMAND FOR JURY TRIAL


        Plaintiffs demand trial by jury.


 Dated: April 10, 2023                      Respectfully submitted,

                                      By:   /s/Ellen Relkin, Esq.
                                            WEITZ & LUXENBERG P.C.
                                            ELLEN RELKIN (ER-9536)
                                            700 Broadway
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                                            Attorney for Plaintiffs




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